IN THE CIRCUIT COURT FOR ANDERSON COUNTY, TENNESSEE

SANDRA LOVEDAY, Administrator of the Estate

of BONNIE ELLEN JONES and SANDRA

LOVEDAY, individually and as next of kin and for

the Wrongful death of BONNIE ELLEN JONES, PLAlNTIFF

VS. CASE NO: B3LA0110

SSC ANDERSONVILLE OPERATlNG COMPANY
LLC d/b/a NORRIS HEALTH AND
REHABILITATION CENTER DEFENDANT

CERTIFICATE OF CLERK
l, H. Tyler Hayes, Clerk of the Circuit Court of Anderson County, Tennessee, do hereby
certify that the attached papers are a full, true and correct copy of all the process, pleadings and
orders in the above entitled action and constitute all the papers on file in the above-styled and
numbered cause in the Circuit Court of Anderson County, Tennessee.

GIVEN UNDER MY HAND AND OFFICIAL SEAL, this the day of June, 2013.

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I-N THE CIRCUIT CO"URT FOR ANDERSON (`DUNTY, TENNESSEE

\\ \l l IIH
SANDRA LOVEDAY, Administrator of the STATE OF TENNES\S§%MP%SQN COUNTY

 

  

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of kin and for the Wrongful death of BONNIE ) f led in this c§lsx
ELLEN JONES’ § This \CQ\ day uiT:)OL%Bl£é\/' k ;__-`i_`:-gg \B
Plaintiffs, ) H. TvLER MAYES’¢, 653 ,_ _ ',~¢ ~..
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ssc ANDERSONVILLE oPERATING § n RY DEMAND §¢_;
COMPANY, LLC d/b/a NORRIS HEALTH ) _< -r__j
AND REHABILITATION CENTER, ) ,f § , ._'
Defendants. ) _-, J
) bn
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COMPLAINT

COMES YOUR PLAINTIFF, by and through counsel, and for this cause of action states

the following:
l. Bonnie Ellen J ones Was a citizen and resident of Anderson County, Tennessee.
2. Bonnie Ellen J ones wrongfully died at Norris Health and Rehabilitation Center in

Anderson County, Tennessee on or about May 10, 2012, due to the negligent acts and omissions
of Norris Health and Rehabilitation Center, its officers, agents and employees

3. Bonnie Ellen Jones was survived by three children including her daughter, Sandra
Loveday, and two grandchildren, Which constitute the next of kin of Bonnie Ellen Jones,
deceased.

4. Sandra Loveday has been appointed Administrator of the Estate of Bonnie Ellen
Jones, her deceased mother. Sandra Loveday brings this action as the Administrator of the
Estate of Bonnie Ellen J ones and also individually and as a next kin of Bonnie Ellen Jones, for
the injuries suffered by Bonnie Ellen J ones and her Wrongful death and for the use and benefit of
her heirs at law.

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5. SSC Andersonville Operating Company, LLC, is a Delaware limited liability
company qualified to do business and doing business in the State of Tennessee. SSC
Andersonville Operating Co., LLC owns and operates Norris Health and Rehabilitation Center in
Anderson County, Tennessee.

6. SSC Andersonville Operating Co., LLC is licensed by the State of Tennessee to
operate a nursing home named Norris Health and Rehabilitation Center.

7. SSC Andersonville Operating Co., LLC does business as Norris Health and
Rehabilitation Center in Anderson County, Tennessee, located at 3382 Andersonville Highway,
Andersonville, TN 37705-3816. Venue lies in Anderson County, Tennessee.

8. CT Corporation System, 800 South Gay Street, Ste 2021, Knoxville, TN 37929-
9710 is the registered agent for service of process for SSC Andersonville Operating Co., LLC.

9. In 2012, Bonnie Ellen Jones was a patient and resident at Norris Health and
Rehabilitation Center, in Anderson County, Tennessee. She received negligent and reckless care
and treatment below the recognized standard of acceptable professional practice for nursing and
nursing horne care for Anderson County, Tennessee or similar communities as it existed in 2012
resulting in personal injuries to Bonnie Ellen Jones that would not otherwise have occurred and
her Wrongful death on May 10, 2012, that would not have otherwise occurred.

10. These injuries occurred as a direct and proximate result of the negligent acts and
omissions, of the agents and servants of the defendant at and during the course of their agency
and employment making Andersonville Operating Co., LLC d/b/a Norris Health and
Rehabilitation Center liable for the injuries and wrongful death experienced by Bonnie Ellen
Jones.

11. The employees, agents and servants of SSC Andersonville Operating Co., LLC
d/b/a Norris Health and Rehabilitation Center were guilty of conduct constituting a gross

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deviation from the standard of care that should have been exercised under the circumstances and
their actions constituted reckless conduct and grossly negligent conduct.

12. On May 9, 2012, a physician's order Was placed for two liters of IV fluids to be
infused at 60 cc per hour. A l,00`0 cc or one liter IV was negligently started by the staff,
employees, servants and agents of the defendant, but a dial flow or other flow control device was
not placed on the IV. The fluids were allowed to infuse very rapidly and uncontrolled into
Bonnie Ellen Jones. This constituted a very dangerous situation and created the risk of serious
harm or death for an elderly patient in Bonnie Ellen Jones's physical condition. The IV Was not
properly assessed, monitored and documented. It demonstrated a reckless disregard for her
safety and a gross deviation from the applicable standard of acceptable professional practice to
allow the IV to infuse uncontrolled and unmonitored into Bonnie Ellen Jones.

13. By about 12:36 a.m. on May 10, 2012, the 1,000 cc IV had rapidly infused into
Ms. Jones. At approximately 12:36 a.m. on May 10, 2012, the nursing staff allegedly discovered
the infusion error, but failed to notify the physician of this error. The nursing staff started
another one liter bag of IV fluids with the dial flow set at 60 cc per hour. The nursing staff again
failed to adequately monitor the IV fluids and assess the patient and to document the same as
required by the applicable standard of acceptable professional practice. The patient was
discovered about 9:35 a.m. on May 10, 2012 and noted to be in respiratory distress. Her lungs
were noted to be congested in all fields. Efforts to treat her were unsuccessful and she expired
about 10:05 a.m. on the morning of May 10, 2012.

14. lt constituted a gross deviation from the applicable standard of acceptable
professional practice for nursing and nursing homes and reckless conduct for a physician not to
be notified at the time the IV error Was discovered during the early morning hours of May 10,
2012, lt also constituted a gross deviation from the then applicable standard of acceptable

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professional practice and reckless conduct for another IV to be started and to be allowed to be
infused at 60 cc per hour Without the physician being notified and Without the patient being
properly monitored, assessed and treated. This created a substantial risk of serious bodily injury
and death to Bonnie Ellen Jones. The defendant callously disregarded this known risk and acted
recklessly.

15. As a direct and proximate result of the above referenced negligent acts and
omissions and reckless conduct, Bonnie Ellen Jones suffered fluid overload, respiratory distress
and injuries from the rapid and excessive infusion of IV fluids, which caused pain and suffering,
mental anguish and the wrongful death.

16. As a direct and proximate result of the negligent acts and omissions of the nursing
personnel and the treatment below the applicable standard of acceptable professional practice for
their profession as it existed in 2012 in Anderson County, Tennessee or similar communities for
nursing and nursing home care, Bonnie Ellen J ones suffered injuries and damages that Would not
otherwise have occurred, including her Wrongful death.

17. The actions of the employees and agents of Norris Health and Rehabilitation
Center represented a conscious disregard for the safety of its patients and a gross deviation below
the applicable standard of acceptable professional practice for their professions as it existed in
Anderson County, Tennessee or similar communities in May 2012, But for the negligence of the
nursing home staff and employees, Bonnie Ellen Jones, would not have experienced these
injuries and died on the morning of May 10, 2012.

18. The personnel of Norris Health and Rehabilitation Center admitted to plaintiff
that the IV was not properly monitored and infused too rapidly and that this caused the death of

Bonnie Ellen Jones.

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19. Norris Health and Rehabilitation Center was not properly and adequately staffed
by adequately and properly trained and experienced nursing staff, sufficient for patient care to
the residents including Bonnie Ellen Jones. The staffing, training and experience Was below the
applicable standard of acceptable professional practice for nursing homes, as it existed in
Anderson County, Tennessee or similar communities in 2012 and this resulted in a pattern of
substandard care below the then applicable said standard of care to Bonnie Ellen Jones.

20. The nursing home personnel failed to adequately monitor, assess, treat and
document the condition of Bonnie Ellen Jones, all in violation of the applicable standard of
acceptable professional practice for nursing horne and nursing care, as it existed in Anderson
County, Tennessee or similar communities in 2012.

21. Medications that were ordered for Bonnie Ellen Jones on May 9, 2012 Were not
timely initiated before her death on May 10, 2012 in violation of the recognized standard of
acceptable professional practice for nursing and nursing homes, as it existed in Anderson
County, Tennessee or similar communities in 2012.

22. The Albuterol treatments were not performed as per the orders entered on May 9,
2012, in violation of the recognized standard of acceptable professional practice for nursing and
nursing homes, as it existed in Anderson County, Tennessee or similar communities in 2012.

23. The staff failed to accurately and adequately monitor, assess and document the
care and treatment of Bonnie Ellen J ones on May 9, 2012 and May 10, 2012 and to timely report
significant changes in the patient's condition, in violation of the recognized standard of
acceptable professional practice for nursing and nursing homes, as it existed in Anderson
County, Tennessee or similar communities in 2012.

24. The nursing home staff failed to provide a comprehensive nursing assessment of
Bonnie Ellen Jones's respiratory status, as required by the recognized standard of acceptable

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professional practice for nursing and nursing homes, as it existed in Anderson County,
Tennessee or similar communities in 2012.

25. The nursing staff failed to adequately and appropriately monitor, assess, evaluate
and document the IV infusions of this patient in violation of the recognized standard of
acceptable professional practice for nursing, as it existed in Anderson County, Tennessee or
similar communities in 2012.

26. The nursing home staff failed to implement and document an appropriate care
plan for Bonnie Ellen Jones in violation of the recognized standard of acceptable professional
practice for nursing and nursing homes, as it existed in Anderson County, Tennessee or similar
communities in 2012.

27. The nursing home staff did not appropriately monitor, assess, evaluate and
document the intake and output of fluids in Bonnie Ellen Jones as required by the recognized
standard of acceptable professional practice for nursing and nursing homes, as it existed in
Anderson County, Tennessee or similar communities in 2012.

28. The nursing home staff failed to adequately and accurately document the errors
regarding the IV infusion in the medical records and failed to promptly report said error as
required by the recognized standard of acceptable professional practice for nursing and nursing
homes, as it existed in Anderson County, Tennessee or similar communities in 2012.

29. The staff of Norris Health and Rehabilitation Center negligently failed to inform
Bonnie Ellen Jones's physician when there was a significant change in her medical status and a
significant medication error, in violation of the recognized stande of acceptable professional
practice for nursing and nursing homes as it existed in Anderson County, Tennessee or similar

communities in 2012.

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30. The care and treatment of Bonnie Ellen Jones at Norris Health and Rehabilitation
Center by the agents and servants of the defendant Were otherwise negligent and below the
recognized standard of acceptable professional practice, causing injuries and damages that would
not have otherwise have occurred.

31. The plaintiff has fully complied with the requirements of T.C.A. §29-26-121(a)
regarding pre-suit notice. The defendant was provided notice by certified mail, return receipt
requested mailed February 21, 2013, which was mailed to their current business address located
at 3382 Andersonville Highway, Andersonville, TN 37705-3816 and to their Atlanta, Georgia
business address located at l Ravinia Drive, Ste 1500, Atlanta, GA 30346-2115 and to their
agent for service of process, CT Corporation System, 800 South Gay Street, Ste 2021, Knoxville,
TN 37929-9710. Also, a certified letter return receipt requested to Norris Health and
Rehabilitation Center was mailed February 21, 2013, to its current business address located at
3382 Andersonville Highway, Andersonville, TN 37705-3816. Proof of receipt of all four
certified letters was received back more than 60 days prior to the filing of this matter. The four
notices all included a HIPAA compliant medical authorization allowing the defendant to obtain
medical records from all persons receiving notices and a list of all entities receiving notice.
Compliance is demonstrated by filing certificates of mailing for all four letters and Affidavits
establishing the timely mailing by certified mail and four certificates of mailing return receipt
requested with the notices attached thereto. (See Exhibits l-A and l-B and attachments thereto).
Attached hereto as Exhibit l-A is the Affidavit of Melanie L. Sadler and Exhibit l-B is the
Affidavit of Arthur C. Earls IV With attached certificates of mailing and certified mail receipts
demonstrating the mailing of notice letters to the defendant on February 21, 2013 on behalf of
Sandra Loveday, Administrator of the Estate of Bonnie Ellen Jones. Return receipts were

received back on all four certified letters. (See Exhibit l). Exhibit 1 and all attachments thereto

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are adopted and incorporated by reference herein. The statutory required notice was timely
given and timely received and this cause of action is being filed more than 60 days after the
notice was provided pursuant to the statute, all in compliance with T.C.A.§29-26-12l(a).

32. Pursuant to T.C.A.§29-26-121(a) pre-suit notice has been timely provided on
February 21, 2013, by certified mail return receipt requested on the business addresses of the
defendant at 3382 Andersonville Highway, Andersonville, Tennessee 37705 and 1 Ravinia
Drive, Ste 1500, Atlanta, Georgia 30346-2115 and to the registered agent for service of process,
CT Corporation Systems, 800 South Gay Street, Ste 2021, Knoxville, Tennessee 37929-9710 and
certificates of mailing evidencing the same are filed herein and adopted and incorporated by
reference. All of these notices were delivered more than 60 days prior to the filing of this case.

33. A Certifrcate of Good Faith, Exhibit 2, is filed contemporaneously with this
Complaint pursuant to the provisions of T.C.A. §29-26-122, which is incorporated and adopted
by reference herein. In accordance with the foregoing statute plaintiffs counsel, David E. High,
states and certifies as follows:

a. He has consulted with one (l) or more experts who have provided a signed
written statement confirming that upon information and belief they:

(i) Are competent under T.C.A. §29-26-115 to express opinions in this case;
and

(ii) Believe based upon the information available and from the medical
records concerning the care and treatment of Bonnie Ellen Jones for the incident at issue
that it is a good faith basis to maintain the action consistent with the requirements of

T.C.A.§29-26-115.

b. Plaintiff‘s counsel, David E. High, has zero (0) prior violations of

T.C.A.§29-26-122.

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34. As a direct and proximate result of the negligent and reckless acts and omissions
of the defendant and their agents, servants and employees acting in the course and scope of their
agency and employment, the plaintiff, Bonnie Ellen Jones, suffered injuries and damages which
would not have otherwise occurred, including conscious pain and suffering, mental anguish and
her wrongful death. As a result, the plaintiffs incurred funeral expenses on behalf of the
decedent The plaintiff underwent conscious pain and suffering prior to her wrongful death as a
result of the negligent acts and omissions and reckless conduct of the defendant's agents and
employees below the recognized standard of acceptable professional practice for their profession
as it existed in Anderson County, Tennessee or similar communities in 2012, and suffered
injuries and damages including pain and suffering, loss of enjoyment of life, mental anguish and
ultimately causing the wrongful death of Bonnie Ellen Jones,

35. The plaintiffs also seek the pecuniary value of the life of Bonnie Ellen Jones and
loss of consortium to all of the heirs at law. The plaintiffs seek all damages allowed under the
Tennessee wrongful death statute.

36. Due to the reckless and intentional conduct of the defendant and their agents,
servants and employees acting within the course and scope of their agency and employment, and
the gross deviations below the applicable standards of care for their profession, this is clearly an
appropriate case for the imposition of punitive or exemplary damages. Therefore, the plaintiffs
seek punitive damages.

37. There exists clear and convincing evidence that the acts and omissions referenced
above clearly constitute a gross deviation from the recognized standard of acceptable
professional practice for nursing and nursing homes as it existed in Anderson County, Tennessee
or similar communities in 2012 and reckless conduct. The defendant and their agents, servants
and employees knew that their conduct posed a substantial and unjustifiable risk of serious injury

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and death to a vulnerable and frail patient in their care and consciously and intentionally
disregarded the risk, and their disregard clearly constituted a gross deviation from the standard of
care that was required under all the circumstances and reckless conduct.

WHEREFORE, PLAINTIFF PRAYS for the following:

l. That proper process issue and be served on the defendant and that the defendant
be required to answer within the time prescribed by law;

2. A trial by j ury;

3. A judgment for compensatory damages against the defendant, to be set by the said
jury not to exceed $2,000,000.00 and that they be awarded punitive damages to be set by said
jury not to exceed $4,000,000.00;

4. That the plaintiff be awarded pre-judgment interest, post-judgment interest and all
costs including discretionary costs be taxed against the defendant; and

5. F or such other, general relief as the plaintiff may be entitled.

Respectfully submitted,
HIGH LAW OFFICE, PLLC

W f/%N

DAVID E. HIGH (#7052)%

300 J ames Robertson Parkway, 2nd Floor
Nashville, TN 37201- 1107
615/256-1000

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K. CHRrsToPHER MARTrN (#23765)
P. O. Box 584

Clinton, TN 37717

865/457-3446

kcmlaw@yahoo. com

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§ EXH|B|T
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IN THE CIRCUIT COURT FOR ANDERSON COUNTY, TENNESSE

  

SANDRA LOVEDAY, Administrator of the
Estate of BONNIE ELLEN JONES and
SANDRA LOVEDAY, individually and as next
of kin and for the wrongful death of BONNIE
ELLEN JONES,

Plaintiffs,

No.:

ssc ANDERsoN\/ILLE oPERATrNG FURY DEMAND

COMPANY, LLC d/b/a NORRIS HEALTH AND
REHABILITATION CENTER,

Defendants.

AFFIDAVIT OF MELANIE L. SADLER

STATE OF TENNES SEE )
COUNTY OF DAVIDSON )

Notice required by T.C.A.§29-26-121(a).

MELANIE L. SADLER, being first duly sworn states the following:

1. I have personal knowledge of the matters stated in this Affidavit.

2. I am employed at High Law Office, PLLC, as a legal secretary.

3. On February 21, 2013, l prepared the four attached letters for mailing, certified
mail, return receipt requested and prepared certificates of mailing for the same. The four
certified letters all dated February 21, 2013 with the attached enclosures were given to our law
clerk, Arthur C. Earls IV, who took them to the post office on February 21, 2013 and mailed the
same by certified mail, return receipt requested and subsequently returned to me the four receipts
and certificates of mailing. (See attached). The SSC Andersonville Operating Company, LLC,
letters were mailed to their current business addresses located at 3382 Andersonville Highway,
Andersonville, TN 37705-3816 and to their Atlanta, Georgia business address located at 1

Ravinia Drive, Ste 1500, Atlanta, GA 30346-2115 and to their agent for service of process, CT
Case 3:13-cV-OO333-TAV-CCS Document 1-1 Filed 06/14/13 Page 12 of 93 Page|D #: 17

Corporation System, 800 South Gay Street, Ste 2021, Knoxville, TN 37929-9710. Also, the
letter to Norris Health and Rehabilitation Center was mailed to its business address located at
33 82 Andersonville Highway, Andersonville, TN 37705-3816.

4. We received back the attached return receipts on all four letters. (See attached).

5. Enclosed with all four correspondence was a list of healthcare providers being
given notice pursuant to T.C.A. §29-26-121(a) and a HIPAA compliant medical authorization
allowing each party receiving notice to obtain records from the other parties receiving notice.

6. Copies of the certified mail receipts, certificates of mailing and the four letters
and attachments are attached to my Affidavit. These letters were all prepared for mailing by me
as described on February 21, 2013.

This the _/;£_ day of May 2013.

FURTHER this affiant saith not.
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MELANIE L. SADLER

 

SWORN TO AND SUBSCRIBED before me on this the l 51- day of May 2013.

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My Commission Expires NOV. 4. 2013

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HIGH LAW OFFICE, PLLC <_\
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PS Form 3800, August 2006

 

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HIGH LAW OFFICE, PLLC

DAVID E. HIGH
Attorney-At-Law
Rule 31, Listed General Civil Mediator

(615)256-1000 300 ]ames Robertson Parkway attyhigh@Bellsouth.Net
(615)256-1009 - Fax Court Square Building, Second Floor www.highlawoffice.com
Nashville, Tennessee 37201

February 21, 2013

VIA CERTIFIED MAIL
RETURN RECEIPT REQUESTED

SSC Andersonville Operating Company, LLC
33 82 Andersonville HWY
Andersonville, TN 37705

Re: Deceased: Bonnie Ellen Jones
` Date of Birth: 6/13/31
Date of Death: 5/10/12
SSN: XXX-XX-XXXX
Our Clients: Sandra Loveday, Administrator of the Estate of
Bonnie Ellen Jones, for the wrongful death of
Bonnie Ellen J ones
Potential Claim for Healthcare Liability
or Medical Malpractice

Notice Required by T.C.A. §29-26-121(a)
Dear Sir or Madam: n

Attomey K. Christopher Martin, P. O. Box 584, Clinton, 'I'N 37717 and High Law Oflice,
PLLC, are the attorneys representing Sandra Loveday, Administrator of the Estate of Bonnie Ellen
Jones fora claim for healthcare liability'or_¢medical malpractice_and for the wrongde death of
Bonnie Ellen Jones, on May 10, 2012, at your facility. Sandra Loveday is asserting a claim for
healthcare liability or medical malpractice for the negligent treatment received by Bonnie Ellen J ones
while at Norris Health & Rehabilita`.tion Center, causing damages and injuries including her wrongful
death on May 10, 2012. Our investigation reveals acts of negligence by the employees and staff of
your facility, including negligently failure to administer, monitor and control the input of IV fluids
into Ms. Jones on May 9, 2012 and May 10, 2012, resulting in fluid overload and her wrongful death
on May 10, 2012.

'I_’hese negligent acts and omissions occurred at Norris Health & Rehabilitation Center, 3382
Andersonville HWY, Andersonville, Tennessee 37705.

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SSC Andersonville Operating Company, LLC
February 21 , 2013
Page 2

The full name and date of birth of the patient whose treatment is at issue is:

Patient: Bonnie Ellen J ones
Date of Birth: 6/13/31

Date of Death: 5/10/12

SSN: XXX-XX-XXXX

The name and address of the claimant authorizing this notice and relationship to the patient is:

Sandra Loveday, Administrator of the Estate

of Bonnie Ellen J ones (Dauglrter of Bonnie Ellen Jones)
204 Sailview Lane

Clinton, 'IN 37716

The name and address of the attorney sending this notice is:

David E. High

High Law Of`fice, PLLC

Court Square Building

300 J ames Robertson Parkway, 2nd Floor
Nashville, TN 37201

Enclosed herein is a list of the names and addresses of all providers being sent anotice.

Enclosed are HIPAA compliant medical authorizations permitting your corporation to obtain
complete medical records from each other provider being sent a notice.

Also enclosed are copies of an Order Allowing the Appointment of Sandra Loveday
Administrator of the Estate of Bonnie Ellen Jones, an Order Granting Letters of Administration,
and a Letter of Administration.

“ Please send a copy of this correspondence and all enclosures to your professional liability
insurance carrier and/or your legal counsel. I would appreciate hearing fi'om your representative of
your professional liability insurance carrier or your legal counsel as soon as possible.

Sincerely,

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David E. High
DEH:mel

Enclosures
cc: Norris Health & Rehabilitation Center ‘

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LIST OF NAl\/IES AND ADDRES SES OF ALL PROVIDERS
BEING SENT A NOTI'CE PURSUANT TO T.C.A. §29-26-121(§)

Re: Claimant: Bonnie Ellen J ones
DOB: 6/13/31
DOD: 5/10/ 12
SSN#: XXX-XX-XXXX

The below is a list of health care providers to whom notice is being given, pursuant to
T.C.A. §29-26-121(a), of a potential claim for medical malpractice:

l. Norris Health & Rehabilitation Center
3382 Andersonville HWY
Andersonville, 'I`N 37705

2. SSC Andersonville Operating Company, LLC
33 82 Andersonville HWY
Andersonville, 'I`N 37705

3. SSC Andersonville Operating Company, LLC
c/o CT Corporation Systems
800 South Gay Street, Ste 2021
Knox`ville, 'I'N 37929-971:0

-- 46 SSGAnder=sonvilleOperating€ompany;LLG
1 Ravinia Drive, Ste 1500
Atlanta, GA 30346.-2115

Each provider above rs being sent a HH’_AA compliant medical authorization permitting
each to obtain complete medical records from each other

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THE SEVENTH JUDICIAL DISTRIC'I` FOR THE STA'I`E OF TENNESSEE
CHANCERY DIVISION - PROBATE SECTION
IN THE MATTER OF:
The Estate of Bonnie Ellen Jones,
Deceased,

No-= 113/05 00.,3@

Sandra Loveday,

Petitioner.

ORDER GRANTING LETTER:S OF ADM]'NIS'I`RATION

 

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This cause came to be heard on February ¢¢i-+-h 901 q , upon the Petitior
' filed by the designated Personal Representative and sworn testimony of the Petitioner am
_`_c.’ gm witnesses The findings of the Court:

A. Decedent was a resident of Anderson County, Tennessee.
Decedent died on 05-10-2012.

Decedent left no Will.

 

B
C
D. Sandra Loveday petitioned the Court to be appointed Administrator.
E That no bond is_ required..

F That the inventory for the Adminjstrator is attached hereto.

G. That Letters of Testamentary be issued to the Administrator upon her taking oath
as prescribed by statute.

H. That the Administrator administer the Estate in compliance with this Order and all
applicable laws of the State of Tennessee.

ENTERthisthe l(?/d,ayof G(O ,2013.

RECEIVED
JAN 24 2013

Case 3'13-cV-00333-TAV-CCS Document 1-1 Filed 06/14/13 Page 18 of 93 Page|D #: 23

1_/ .~»8:

JUDGE wiLLIAM` LANTRH`>‘~"

APPROVED FOR ENTRY BY:

amf

K. CHRISTOPHER MARTIN (23765)
Attorney for the Estate

P.O. Box 584,

Clinton, TN 37717

(865) 457-3446

 

Case 3:13-cV-00333-TAV-CCS Document1-1 Filed 06/14/13 Page 19 of 93 Pagel|D #: 24

THE S]:. f EN’I`H JU])ICIAL DIS'I'RICT FOR I'HE STATE OF TENNESSEE
CHANCERY DIVISION - PROBA'I`E SECTION

lN THE MATTER OF:

The Estate of Bonnie Ellen Jones,
Deceased, No.: l 5 /5 0 OZ‘ §

Sandra Loveday,

Petitioner.

ORDER ALLOW]NG THE APPOINTIV[ENT OF SANDRA LOVEDAY AS
ADM'[N_'I__STRATOR OF THE ES'I'ATE OF BONNIE ELLEN JONES

'Ihis cause came on to be heard on the day of 2013,

 

before the Honorable William Lantrip. Based upon the record as a whole, the Court is of the
opinion that Sandra Loveday be appointed Administrator of the Estate of Bonnie Ellen Jones,

IT IS THEREFORE ORDERED, ADJUDGED and DECREED th_at Sandra Loveday

be appointed Administrator of the Estate of Bonnie Ellen Jones.

ENTERED name Layof § Q ,2013.
1/\)1~»€-0§~@

.m`i)ca wn,LIAM LANTRiP \J

 

APPROVED FOR ENTRY BY:

K._ CHRISTOPHER MAR'I']N (23765)
Attorney for the Estate

Post Office Box 584

Clinton, TN 37717

865-457-3446

Case 3:13-cV-00333-TAV-CCS Document1-1 Filed 06/14/13 Page 20 of 93 Page|D #: 25 n

 

 

lN T=l~'" sF_vENTH ;uchl~AL D».ls`TRl'cT' ron 2 sTATE or TENNESSEE
PROBATE DIVISIO»

IN 'RE: THE ESTATE _OF BONNIE ELLEN JONES, DECEASED

NO: l3PB0020

LETTER OF .ADMINISTRATION
t TO: SANDRA LOVEDAY

A CITIZEN OF ANDERSON COUNTY, TN
\
miereas, .It appears to the Court, now~in session, that BONNIE ELLEN
JONES died, leaving no will and the Court being satisfied as to your
claim to the_`Administration, and you having given bond and qualified as
directed__`_by' law, and the Court having ordered that Letters 1of
_Administration-be__issu`ed ._to you,- These ar"e-,' therefore, to authorize and
empower youlr _the said ’S__AN_D_RA _"I.»OVEDAY .to take into your possession and
-.col_itrol, all the,_'go__ods_, ohattels, claims, and.papers-of the said
- intestate, and return a _t:_rue, and perfect inventory thereof to our next
. Chance;ry P:.;obate.¢ourt, or within sixty (~6-0)' days from the date'hereof;
"'to ._ool;l_ec.t and pay all debts, __and t'o do 5and transact-all the duties in
relation -to said estate __which lawfully devolve on you and personal
representative and after-- having settled up_said estate, to deliver the
reside thereof to'those who .have a right thereto.

Wi-t_nes___s‘, _Ste_v_e R. _Qu_e__ener, Clerk and Master of said Court, at office,
this ¢¢~"" of FsBRUARY, 2013.

 

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; ..I -dO::'SQJ,§Ihnly___swear`-th;at ill1 _\_¢_ill_~_.honestly and faithfully discharge .t_he '
_ d1._1_t::‘ies.5 of_.__Personal_;- Repres,entative;- of the estate of BONNIE ELLEN .JONRS
;-é\¢CQrdiqg_:_tQ law,. __t_o` ~_the b_es_t_, of my knowledge'.and. ability. So_help_me _
soa. ' . - . _ . v t ,

 
   
 
  
 

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_ HIPAA COMPLIANT _
_ _ Medical.Record_s/I\/Iedical Billin vRelea_se `Authorization
'- I. hereby authorize WOM[S. /4[€#/2£1 ¢//‘i/\&F £€})F)é f/,'zé#z§c')_/J Ci’/\/?AM and

its }physicians, employees and agents to release or disclose to SS(` him a”€/ZSLS/\r U:}k Rr{)’ CWM)'MC
all :of my billing information and/or documentation and dll~of my medical records in udingh§oy. specially
protected records.such as those relating to psychological or psychiatric impaiments, drug abuse, aleoholism,
sickle cell anemia, or HIV infection, etc. This Release covers any~and all~ medical records whatsoever

 

RE_LEASE RECORDS '_I`O:

 

 

 

 

 

Patient's.Namc: _ BQNN]E ELL_EN JONES, deceased

patients ss#: _XXX-XX-XXXX Paaent'sir)at¢ ofBir'cb.~ . sham

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HIGH LAW or-'FICE, PLLC §§ /
300 James Robertson Plcwy, 2nd
Nashv:l.lle,_TH 37201 '

 

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T"SSC Andersonville Operating Co \;E,,L §
1 Ravinia Drive, Ste 1500
Atlanta, GA 39.546-.£11.'3

 

 

 

 

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HIGH LAW OFFICE, PLLC

DAVID E. HIGH
Attorney-At-Law
Rule 31, Listed General Civil Mediator

(615)256-1000 300 ]ames Robertson Parl<way attyhigh@Bellsouth.Net
(615)256-1009 - Fax Court Square Building, Second Floor www.highlawoffice.com
Nashville, Tennessee 37201

February 21, 2013

VIA CERTIFIED MAIL
RETURN RECEIPT REQUESTED

SSC Andersonville Operating Company, LLC
1 Ravinia Drive, Ste 1500
Atlanta, GA 30346-2115

Re: Deceased: Bonnie Ellen Jones

Date of Birth: 6/13/31

Date of Death: 5/10/12

SSN: 409~44-7088

Our Clients: Sandra Loveday, Administrator of the Estate of
Bonnie Ellen Jones, for the wrongful death of
Bonnie Ellen J ones
Potential Claim for Healthcare Liability
or Medical Malpractice '

Notice Required by T.C.A. §29-26-121(a)
Dear Sir or Madam:

Attomey K. Christopher Martin, P. O. Box 584, Clinton, TN 37717 and High Law OBice, PLLC, _
are the attorneys representing Sandra Loveday, Administrator of the Estate 'of Bonnie Ellen Jones for
a claim for healthcare liability or medical malpractice and for the wrongful death of Bonnie Ellen
Jones, on May 10, 2012, at your facility. Sandra Loveday is asserting a claim for healthcare liability
or medical malpractice for the negligent treatment received by Bonnie Ellen J ones while at Norris
Health & Rehabilitation Center, causing damages and injuries including her wrongful death on May
10, 2012. Our investigation reveals acts of negligence by the employees and staE of your facility,
including negligently failure to administer, monitor and control the input of IV fluids into Ms. Jones
on May 9, 2012 and _May 10, 2012, resulting in fluid overload and her wrongful death on May 10,
2012. -

These negligent acts and omissions occurred at Norris Health & Rehabilitation Center, 3382
Andersonville HWY, Andersonville, Tennessee 37705.

Case 3:13-CV-00333-TAV-CCS Document 1-1 Filed 06/14/13 Page 24 of 93 Page|D #: 29

SSC Andersonville Operating Company, LLC
February 21, 2013
Page 2

The full name and date of birth of the patient whose treatment is at issue is:

Patient: Bonnie Ellen J ones
Date of Birth: 6/13/31

Date of Death: 5/1 0/ 12

SSN: XXX-XX-XXXX

The name and address of the claimant authorizing this notice and relationship to the patient is:

Sandra Elizabeth Loveday, Administrator of the Estate

of Bonnie Ellen J ones (daughter of Bonnie Ellen Jones)
204 Sailview Lane
Clinton, 'IN 37716

The name and address of the attorney sending this notice is:

David E. High

High Law Office, PLLC

Court Square Building

300 J ames Robertson Parkway, 2nd Floor
Nashville, 'IN 37201

Enclosed herein is a list of the names and addresses of all providers being sent a notice.

Enclosed are HIPAA compliant medical authorizations permitting your corporation to obtain
complete medical records from each other provider being sent a notice.

Also enclosed are copies of an Order Allowing the Appointment of Sandra Loveday
Administrator of the Estate of Bonnie Ellen Jones, an Order Granting Letters of Administration,
and a Letter of Admjnistration.

Please send a copy of this correspondence and all enclosures to your professional liability
insurance carrier and/or your legal counsel. I would appreciate hearing from your representative of
your professional liability insurance carrier or your legal counsel as soon as possible

Mi

David E. High

Sincerely,

DEH:mel
Enclosures

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LIST OF NAMES AND ADDRES SES OF ALL PROVIDERS
BEING SEN'I` A NOTI'CE PURSUANT TO T.C.A. §29-26-1211a!

Re: ` Claimant: Bonnie Ellen J ones
DOB: 6/13/31
DOD: 5/10/ 12
SSN#: XXX-XX-XXXX

The below is a list of health care providers to whom notice is being given, pursuant to
T.C.A. §29-26-121(a), of a potential claim for medical malpractice:

l. Norris Health & Rehabilitation Center
33 82 Andersonville HWY
_ Andersonville, 'IN 37705

2. SSC Andersonville Operating Company, LLC
33 82 Andersonville HWY
Andersonville, 'IN 37705

3. SSC Andersonville Operating Company, LLC
.c/o CT Corp_oration Systems
800 South Gay Street, Ste 2021
Knoxville, 'IN 37929-9710

w4.-~ SSC-Andersonville@pemting- Company,-LLC ~
1 Ravinia Drive, Ste 1500
Atlanta, GA 30346-2115

Each provider above is being sent a HIPAA compliant medical authorization permitting
each to obtain complete medical records from each other,

Case 3:13-CV-00333-TAV-CCS _Document 1-1 Filed 06/14/13 Page 26 of 93 Page|D #: 31

THE SEVENTH JUDICIAL DISTRICT FOR THE STA'I`E OF TENNESSEE
CHANCERY DIVISION - PROBATE` SECTION

IN THE MATTER OF:
The Estate of Bonnie Ellen Jones,

N°~= /5/”5 cage

Deceased,

Sandra Loveday,

Petitioner.

ORDER GRANT]`NG LE'I'I`ERS OF ADM]NISTRATION
_____________________
I t

February =§-1-11, ama . upon the Petitio

 

§ This cause came to be heard on
' filed by the designated Personal Representat:ive and sworn testimony of the Petitioner an
.;_j° F, §§ witnesses. 'l`he findings of the Court:
::: : §§ A. Decedent was a resident of Anderson County, Tennessee.
: : § B. Decedent died on 05-10-2012.

§ §§ C Decedent lelt no Will.

§ m al D. Sandra Loveday petitioned the Court to be appointed Admjnistrator.

E That_no bond,isr¢fquir€d.
F. That the inventory for the Administrator is attached hereto.

G. That Letters of Testamentary be issued to the Administrator upon her taking oatl

as prescribed by statute.

H. That the Administrator administer the Estate in compliance with this Order and al
applicable laws of the State of Tennessee.

ENTERthisthe _LF_{/day of § lp ,2013.

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JAN 24 2013

Case 3'13-CV-00333-TAV-CCS Document 1-1 Filed 06/14/13 Page 27 of 93 Page|D #: 32

n_) .N»§` _ l
JUDGE wn.LIAM LANTR]I`>‘-’

APPROVED FOR ENTRY BY:

g H.%`r

K. CHRISTOPHER MARTIN (23765)
Attorney for the Estate

P.O. Box 584.

Clinton, 'I'N 37717

(865) 457-3446

 

'Case 3'13-cV-00333-TAV- CS Document 1-1 Filed 06/14/13 Page 28 of 93 Page|P#-SS__FW~

THE S._ .ENTH JUDICIAL DISTRICT FOk THE STA'I`E OF TENNESSEE
WMW
IN THE MAT'I`ER OF:
The Estate of Bonnie Ellen Jones,
Deceased, No.: l 5 /5 0 Oz‘ §
Sandra Loveday,

Petitioner.

ORDER ALLOW]NG THE APPOINTM]§`,NT OF SANDRA LOVEDAY AS
ADM]NISTRA'I`OR OF THE ESTATE OF BONNIE ELLEN JONES

 

This cause came on to be heard on the day of 20`13,

 

before the Honorable William Lantrip. Based upon the record as a whole, the Court is of the
opinion that Sandra Loveday be appointed Admjnistrator of the Estate of Bonnie Ellen Jones,

IT IS THEREFORE ORDERED, ADJ`UDGED and DECREED that Sandra Loveday

be appointed Adminisirator of the Estate of Bonnie Ellen Jones,

ENTEREDthiSthe Maayof §§ ,2013.
-1)\)»/~€ OQvQ

JU`i)GE wILLIAM LANTRH» \/

 

APPROVED FOR ENTRY BY:

K. CHRISTOPHER MART]N (23765)
Attorney for the Estate

Post OHice Box 584

Clinton, TN 37717

865-457-3446

Case 3:13-CV-00333-TAV-CCS Document 1-1 Filed 06/14/13 PY-e_-§Q of 93 PagetD #: 34

 

 

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JlN T:H”“€'E-VENTH ]UDIC|AL DISTRI"CT FOR " ": STATE OF TENNESSEE
. PROBATE nIvIsIot` -'-' - ~ ~

IN RE: THE ESTATE OF BONNIE ELLEN JONES, DECEASED

NO: 13PB0020

LETTER OF ADHINISTRATION

` TO: SANDRA LOVEDAY

A CITIZEN OF ANDERSON COUNTY, TN

\

_-Wher_eas, .It appears to the-Court, now in session, that BONNIE ELLEN

JON'ES died, leaving no will an_d the Court being satisfied as to your
claim to the_'Administration", and you having given bond and qualified as

_ directed’_`_by law, and the _§:ourt' having ordered that Letters '_of
__J\dministration be__ issued -._to' yqu;_ These: are,‘ therefore,_ to authorize and

empower-..you, the said SANDRA fl»OVEDAY .to take into your possession and

--~_::ol_itrol, .avcl.`|t_.tlt:ne1 gopds, chattels, claims, and.papers -o_f the said

intestate_, a`nd return la _t_rue, and perfect inventory thereof to our next
Chance-_ry Erobate Court, or within sixty (-60} days from the date hereof ,'

"-to' ._`col.lec_t.'._ and pay all debt's, _and to do _and transact-all the duties in

relation to said estate which lawfully devolve on you and_ personal
representative and after-having settled up said estate, to deliver the
reside thereof to'tho`se who have a right thereto.

Wi-tness{, _Stex{e R. _Qu_eener-, .Clerk and Master `of said Court, at office,

this “"" of F.J¢:BRu`ARY, 2013.

 

 

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= Patient's~Name: BONNIE-ELLEN'JONES deceased
nations ss#: 409-44- _

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Which physicians rccords?. _

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Case 3:13-CV-00333-TAV-CCS Document 1-1 Filed 06/14/13 Page 32 of 93 Page|D #: 37

HIGH LAW OFFICE, PLLC

DAVID E. HIGH
Attomey-At-Law
Rule 31, Listed General Civil Mediator

(615)256-1000 300 ]ames Robertson Parkway attyhigh@Bellsouth.Net
(615)256-1009 - Fax Court Square Building, Second Floor Www.highlawoffice.com '
Nashville, Tennessee 37201

February 21, 2013

VIA CERTIFIED MAIL
RETURN RECEIPT REQUESTED

SSC Andersonville Operating Company, LLC
c/o CT Corporation Systems

800 South Gay Street, Ste 2021

Knoxville, 'IN 37929-9710

Re: Deceased: Bonnie Ellen J ones

Date of Birth: 6/13/31

Date of Death: 5/1 0/ 12

SSN: 409-44¢7088

Our Clients: Sandra Loveday, Adrninistrator of the
Estate of Bonnie Ellen Jones for the wronng death of
Bonnie Ellen J ones
Potential Claim for Healthcare Liability
or Medical Malpractice

Notice Required by T.C.A. §29-26-121(a)
Dear Sir or Madam:

You are listed as the agent for service of process for SSC Andersonville.Operating Company,
LLC, which is the owner of Norris Health & Rehabilitation Center, 3382 Andersonville HWY,
Andersonville, 'IN 37705. Attorney K. Christopher Martin, P. O. Box 584, Clinton, TN 37717
and High Law OHice, PLLC, are the attorneys representing Sandra Loveday, Administrator of the
Estate of Bonnie Ellen Jones for a claim for healthcare liability or medical malpractice and for the
wrongful death of Bonnie Ellen Jones, on May 10, 2012, at your facility. Sandra Loveday is
asserting a claim for healthcare liability or medical malpractice for the negligent treatment received
by Bonnie Ellen J ones while at Norris Health & Rehabilitation Center, causing damages and injuries
including her wrongful death on May 10, 2012. Our investigation reveals acts of negligence by the
employees and staH` of your facility, including negligently failure to administer, monitor and`oontrol
the input of IV fluids into Ms. Jones on May 9, 2012 and May 10, 2012, resulting in fluid overload
and her wrongful death on May 10, 2012.

These negligent acts and omissions occurred at Norris Health & Rehabilitation Center, 3382
Andersonville HWY, Andersonville, Tennessee 37705.

Case 3:13-CV-00333-TAV-CCS Document 1-1 Filed 06/14/13 Page 33 of 93 Page|D #: 38

SSC Andersonville Operating Company, LLC
c/o CT Corporation Systems

February 21, 2013

Page 2

The full name and date of birth of the patient whose treatment is at issue is:

Patient: Bonnie Ellen J ones
Date of Birth: 6/13/31

Date of Death: 5/1 O/ 12

SSN: XXX-XX-XXXX

The name and address of the claimant authorizing this notice and relationship to the patient is:

Sandra Loveday, Administrator of the Estate

of Bonnie Ellen J ones (daughter of Bonnie Ellen Jones)
204 Sailview Lane

Clinton, 'IN 37716

'Ihe name and address of the attorney sending this notice is:

David E. High

High Law offloe, PLLC

Court Square Building

300 J ames Robertson Parkway, 2nd Floor
Nashville, TN 37201

Enclosed herein is a list of the names and addresses of all providers being sent a notice.

Enclosed are HIPAA compliant medical authorizations permitting your corporation to obtain
complete medical records from each other provider being sent a notice.

Also enclosed are copies of an Order Allowing the Appointment of Sandra Loveday
Administrator of the Estate of Bonnie Ellen Jones, an Order Granting Letters of Administration,
and a Letter of Administration.

Please send a copy of this correspondence and all enclosures to the appropriate individuals
at Norris Health & Rehabilitation Center, 33 82 Andersonville HWY, Andersonville, 'I'N 37705 and
SSC Andersonville Operating Company, LLC, 3382 Andersonville HWY, Andersonville, 'IN
37705 and to the professional liability insurance carrier and/or legal counsel of said Rehabilitation
Center and said limited liability corporation for this claim and/or legal counsel, to contact me.

David E. High
DEH:mel

Enclosures

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LIST OF NAMES AND ADDRESSES OF ALL PROVIDERS
BEING SENT A NOTI'CE PURSUANT TO T.C.A. §29-26-121(§)

Re: Claimant: Bonnie Ellen J ones
DOB: 6/'13/31
DOD: 5/10/-12
SSN#: XXX-XX-XXXX

The below is a list of health care providers to whom notice is being given, pursuant to
T.C.A. §29-26-121(a), of a potential claim for medical malpractice:

l. Norris Health & Rehabilitation Center
3382 Andersonville HWY
Andersonville, TN 37705

2. SSC Andersonville Operating Company, LLC
33 82 Andersonville HWY
Andersonville, TN 37705

3. SSC Andersonville Operating Company, LLC
c/o CT Corporation Systems
800 South Gay Street, Ste 2021
Knoxville, TN 37929-9710

- A~; SSC Andersonville,pentmg€empany»,-LLC
1 Ravinia Drive, Ste 1500
Atlanta, GA 30346-2115

Each provider above rs being sent a HIPAA compliant medical authorization permitting
each to obtain complete medical records from each otherr

`Case 3:13-CV-OO333-TAV-CCS _ Document 1-1 Fi|e'd 06/14/13 Page 35 of 93 _ Page|D #: 40

THE SE VENTH JUDICIAL DISTRIC'I` FOR TH]£`l S'I`ATE OF TENNESSEE
CHANCERY DIVISION - PROBATE SECTION

IN THE MAT'I`ER OF:
The Estate of Bonnie Ellen Jones,
N°~= /5/”5 00¢3©

Deceased,

Sandra Loveday,

Petitioner.

ORDER GRANT]NG LET"I'ERS OF A])MINISTRATION
-_~_________.._._.______________________
| l

This cause came to be heard on upon the Petitio;
filed by the designated Personal Representative and sworn testimony of the Petitioner ant

witnesses The findings of the Court:

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A. Decedent was a resident ofAnderson County, Tennessee.

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Decedent died on 05-10-2012.

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Decedent lett no Will.

 

B
C
D. Sandra Loveday petitioned the Court to be appointed Administrator.
E 'lhat no bond__i_S required

F That the inventory for the Administrator is attached hereto.

G. That Letters of Testamentary be issued to the Administrator upon her taking oat]
as prescribed by statute.

H. That the Administrator administer the Estate in compliance with this Order and al
applicable laws of the State of Tennessee.

ENTERthisthe l(<(/d'ayof EW ,2013.

RiECEtVED
JAN lt 2013

Case 3:13-CV-OO333-TAV-CCS Document 1-1 Filed 06/14/13 Page 36 of 93 Page|D #: 41

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JUDGE erLIAM` LA'NTRIP~’

APPROVED FoR ENTRY BY:

~.%V

K. CHRISTOPHER MART]N (23765)
Attorney for the Estate

P.O. Box 584,

Clinton, TN 37717

(865) 457-3446

 

n Case 3'13-CV-OO333-TAV-CCS Document 1-1 Filed 06/14/13 Page 37 of 93 Page|D #: 42

THE Si_ . ENTH J'UDICIAL DISTRICT FOI\ I`HE STA'I`E OF TENNESSEE
CHANCERY DIVISION - PROBATE SECTION

IN THE MATI`ER OF:

The Estate of Bonnie Ellen Jones,
Deceased, No.: l 3 /5 0 OZ‘ §

Sandra Loveday,

Petitioner.

ORDER ALLOWING THE APPOINI`MENT OF SANDRA LOVEDAY AS
ADM]`NISTRATOR OF THE ESTATE OF BONNIE ELLEN JONES

 

 

This cause came on to be heard on the day of 2013,
§ r__ before the Honorable Wil]iam Lantrip. Based upon the record as a whole, the Court is of the
,L_i_? :¢: opinion that Sandra Loveday be appointed Administrator of the Estate of Bonnie Ellen Jones.
_I ::‘_ IT IS THEREFORE ORDERED, ADJUDGED and DECREED that Sandra Loveday
§§ be appointed Admjnistrator of the Estate of Bonnie Ellen Jones,

 

ENTEREDthisthe Z/YU-:layof g § ,2013.

tila

.ru`i)GE erLIAM LANTRIP \/
APPROVED FOR ENTRY BY:

K. CHRISTOPHER MART]N (23765)
Attorney for the Estate

Post Odice Box 584

Clinton, 'I'N 37717

865-457-3446

Case 3:13-CV-OO333-TAV-CCS Document 1-1 Filed 06/14/13 Pag"e'33 of 93 Page|Di43

-I`N 'Til ' ` SEVE'NTH }UDlClAL D»lSTRlCT FOR E STATE OF TENNESSEE
PROBATE DIVISIOL. `

IN RE: THE ESTATE OF BONNIE -ELLEN JONES, DECEASED

No= 13PBoo-20

LETTER OF ADHINISTR`ATION
` TO: SANDRA LOVEDAY

A CITIZEN OF ANDERSON COUNTY, TN
\

Wher_eas, ,It appears to the Court, now in session, that BONNIE ELLEN
JONES died, leaving no will and the Court being satisfied as to your
claim to the_ Administration', and you having given bond and qualified as
directed `by' lam and the Court having ordered that Letters of
1_Ae’un_i.r:i:_lstratton he issued ._to' you,- These ar`e.,' therefore, to authorize and
empowers you, the said SANDRA :_LOVBDAY to take into your possession and
_-contlrol, all _the_ goods, chattels, claims, and papers rof the said`»
intestate, a.'nd_ return a true and perfect inventory thereof to our next
- _ _ _ _obate Court, or within sixty (~60)' days from the date~hereof;
" to_-_ collect 'and pay all debts, :a.nd to do 5and~~transact--all the duties in
relation to said estate yh_i.ch lawfully devolve on you and personal

representative and after-having settled up_said estate, to deliver the
reside thereof to those who .have a right thereto.

Witnes_`_s_, _VSte__v_e R. Queener, .Clerk and Master of sai Court, at office,
this L["" of FJ__JB-RUARY, 2013. -

 

 

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¢it_r_t.’u=.»s.l_of_,_-_Pe.'¢:’sc:»na_l_1 Repre_s_ent`ative; of the estate of BONNIE ELLEN .JONES

- .according_,_to, law,. __to_ the best of my knowledge and abi_lity- 'SO help I.'IP
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Case 3:13-CV-00333-TAV-CCS Document 1-1 Filed 06/14/13 Page 41 of 93 Page|D #: 46

HIGH LAW OFFICE, PLLC

DAVID E. HIGH
Attorney-At-Law
Rule 31, Listed General Civil Mediator

(615)256-1000 300 James Robertson Parl<wa attyhi h@Bellsouth.Net
Y 8
(615)256~1009 - Fax Court Square Building, Second Floor www.highlawoffice.com
Nashville, Tennessee 37201

February 21, 2013

VIA CERTIFIED MAIL
RETURN RECEIPT REQUESTED

Norris Health & Rehabilitation Center
A'I`TN: Nursing Home Administrator
3382 Andersonville HWY
Andersonville, TN 37705

Re: Deceased: Bonnie Ellen Jones

Date of Birth: 6/13/31

Date of Death: 5/10/12

SSN: XXX-XX-XXXX

Our Clients: Sandra Loveday, Adminjstrator of the Estate of
Bonnie Ellen Jones for the wrongful death of
Bonnie Ellen J ones
Potential Claim for Healthcare Liability
or Medical Malpractice ~

Notice Required by T.C.A. §29-26-121(a)
Dear Sir or Madam:

Attorney K. Christopher Martin, P. O. Box 584, Clinton, TN 37717 and High Law OfElce, PLLC,
are the attorneys representing Sandra Loveday, Administrator of the Estate of Bonnie Ellen J ones for
a claim for healthcare liability or medical malpractice and for the wrongful death of Bonnie Ellen
Jones, on May lO, 2012, at your facility. Sandra Loveday is asserting a claim for healthcare liability
or medical malpractice for the negligent treatment received by Bonnie Ellen Jones while at Norris
Health & Rehabilitation Center, causing damages and injuries including her wrongful death on Ma)r
10, 2012. Our investigation reveals acts of negligence by the employees and staff of your facility,
including negligently failure to administer, monitor and control the input of IV fluids into Ms. J ones
on May 9, 2012 and May 10, 2012, resulting in fluid overload and her wrongful death on May 10,
2012.

These negligent acts and omissions occurred at Norris Health & Rehabilitation Center, 3382
Andersonville HWY, Andersonville, Tennessee 37705

Case 3:13-CV-00333-TAV-CCS Document 1-1 Filed 06/14/13 Page 42 of 93 Page|D #: 47

Norris Health & Rehabilitation Center
February 21, 2013
Page 2

The full name and date of birth of the patient whose treatment is at issue is:

Patient: Bonnie Ellen J ones
Date of Birth: 6/13/31

Date of Death: 5/10/ 12

SSN: XXX-XX-XXXX

The name and address of the claimant authorizing this notice and relationship to the patient is:

Sandra Loveday, Administrator of the Estate of Bonnie Ellen J ones
204 Sailview Lane
Clinton, 'IN 3 77 l 6

The name and address of the attorney sending this notice is:

David E. High

High Law Oflice, PLLC

Court Square Building

300 J ames Robertson Parkway, 2nd Floor
Nashville, TN 37201

Enclosed herein is a list of the names and addresses of all providers being sent a notice.

Enclosed are HIPAA compliant medical authorizations permitting your corporation to obtain
complete medical records from each other provider being sent a notice.

Also enclosed are copies of an Order Allowing the Appointment of Sandra Loveday
Administrator of the Estate of Bonnie Ellen Jones, an Order Granting Letters of Administration,
and a Letter of Administration.

Please send a copy of this correspondence and all enclosures to your professional liability
insurance carrier and/or your legal counsel. I would appreciate hearing nom your representative of
your professional liability insurance carrier or your legal counsel as soon as possible.

David E. High

DEH:mel
Enclosure
cc: SSC Andersonville Operating Company, LLC

Case 3513-CV-OO333-TAV-CCS Document 1-1 Filed 06/14/13 Page 43 of 93 Page|D #: 48

LIST OF NAMES AND ADDRESSES OF ALL PROVIDERS
'BEING SENT A NOTI'CE PURSUANT TO T.C.A. §29-26-121§21)

Re: Claimant: Bonnie Ellen J ones
DOB: 6/13/31
DOD: 5/10/12
SSN#: XXX-XX-XXXX

The below is a list of health care providers to whom notice is being given, pursuant to
T.C.A. '§29-26-l2l(a), of a potential claim for medical malpractice:

l, Nonis Health & Rehabilitation Center
33 82 Andersonville HWY
Andersonville, 'IN 37705

2. SSC Andersonville Operating Company, LLC
33 82 Andersonville HWY
Andersonville, TN 37705

3. - SSC Andersonville Operating Company, LLC
c/o CT Corporation Systems
800'. South Gay Street, Ste 2021
Knox'ville, TN 37929-971;0

4i - SSCAndeesonvilleOperatiag»Gompany;LLC
l Ravinia Drive, Ste 1500
Atlanta, GA 30346-2115

Each provider above 1s being sent a '-H]P_AA compliant medical authorization permitting
each to obtain complete medical records from each other.

Case 3:13-CV-OO333-TAV-CCS Document 1-1 Filed 06/14/13 Page 44 of 93 Page|D #: 49

THE SEVEN'I`H JUDICIAL DISTRIC'I` FOR THE STATE OF TENNESSEE
CHANCERY DIVISION - PROBATE §§CTION
lN THE MATI`ER OF:
The Estate of Bonnie Ellen Jones,
Deceased, No.: 15 ,05 0 O‘?D

Sandra Loveday,

Petitioner.

ORDER GRANT[NG LE'ITERS OF ADM]NISTRAT!ON
-_-__-_-___..__.________________________
| l

This cause came to be heard on upon the Petitior
filed by the designated Personal Representative and sworn testimony of the Petitioner an<
l _ witnesses The findings of the Court:

A. Decedent was a resident of Anderson County, Tennessee.

Decedent died on 05-10-2012.

Decedent left no Will.

 

B.
C
D. Sandra Loveday petitioned the Court to be appointed Administrator.
E That no bond is regui.red

F

'Ihat the inventory for the Administraror is attached hereto.

G. That Letters of Testamenta.ry be issued to the Administrator upon her taking oath
as prescribed by statute.

H. That the Administrator administer the Estate in compliance with this Order and all
applicable laws of the State of Tennessee.

ENmRmsmechayof &W ,2013.

RECEWED
JA'N 24 2013

Case 3:13-CV-OO333-TAV-CCS Document 1-1 Filed 06/14/13 Page 45 of 93 Page|D #: 50

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JUDGE wlLLIAM` L_&NTRIP‘~’

APPROVED FOR ENTRY BY:

_.J%_\r_

K. CHRISTOPHER MARTIN (23765)
Attorney for the Estate

P.O. Box 584.

Clinton, TN 37717

(865) 457-3446

 

Case 3:13-CV-OO333-TAV-CCS Document 1-1 Filed 06/14/13 Page 46 of 93 Page|D #: 51

THE SI!, . .-_‘NTH JUDICIAL DISTRICT FOR iHE STATE OF TENNESSEE
CHANCERY_QMSION - PROBATE SECTION

IN THE MAT'I`ER OF:

The Estate of Bonnie Ellen Jones,
Deceased, No.: l 5 /5 0 OZ‘ §

Sandra Loveday,

Petitioner.

Q_RDER ALLOW]_NG THE APPO]NTMENT OF SANDRA LOVEDAY AS
ADMINISTRATOR OF THE ES'I'ATE OF BONNIE ELLE_N JONES

 

This cause came on to be heard on the day of 2013,
§ r__ before the Honorable William Lantrip. Based upon the record as a whole, the Court is of the
il ; opinion that Sandra Loveday be appointed Administrator of the Estate of Bonnie Ellen Jones.
:; j IT IS THEREFORE ORDERED, ADJUDGED and DECREED that Sandra Loveday
§ be appointed Administrator of the Estate of Bonnie Ellen Jones.

 

ENTERED this the Z/T/day of g § , 2013

APPROVED FOR ENTRY BY:

K. CHRISTOPHER MARTIN (23765)
Attorney for the Estate

Post Ofl`ice Box 584

Clinton, 'I‘N 37717

865-457-3446

CaSe 3213-CV-00333-TAV-CCS

Document 1-1 Filed 06/14/13 Page 47 of 93 Page|D #: 52

.IN Tt "EVENTH 11 UD|C|AL `D»lSTRlCT FOR _ STAT~=E OF TENNESSEE
PRoBATE D'IvrsroN'

IN RE: THE ESTATE OF BONNIE ELLEN JONES, DECEASED

NO: 13PB0020

LETTER OF ADMINISTRATION ' "
' TO: SANDRA LOVBDAY

A CI_TIZEN OF ANDERSON COUNTY, TN

\

JONES died, leaving no will and the Court being satisfied as to your
claim to the Administration, and you haring given bond and qualified as
directed_by law, and the Court having ordered that Letters_of
_Administration be_issued to your These are, therefore, to authorize and
empower you,_the_said SANDRA:LQVEDAY to take into your possession and
pontrol, all_the goods. chattels, olaims, and_papers-of the said
intestate, and_return a true and perfect inventory thereof to our next
`_Chancery Probate Court, or within sixty (60) days from the date hereof;

ll-t:o_'._t'_'c)_l-_J.e<:t:"a::it§l pay all debts, and to deland transact all the duties in
'relation to said estate_wbich lawfully devolve on you and personal
representative and after having settled up said estate, to deliver.the
`reside thereof to'those who.have a right thereto.

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Witness,,$teve R. Queener, Clerk and Master of said Court, at office,
this ¢{"*" of F-EBRUARY, 2013. ~

 

 

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:, §§do solemnly swear that I will honestly and faithfully discharge the-:.
,duties pt Personal_Representative;of the estate of BONNIE.ELLEN.JGNES
yaccording,tq law@ to the best of my knowledge and ability. So_help»v

God. ` - ~'_‘- x ~ '

 
   
   

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EXH|B|T

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IN THE CIRCUIT COURT FOR ANDERSON COUNTY, TENNESSE

SANDRA LOVEDAY, Administrator of the
Estate of BONNIE ELLEN JONES and
SANDRA LOVEDAY, individually and as next
of kin and for the wrongful death of BONNIE
ELLEN JONES,

Plaintiffs,

No.:

ssc ANDERSONVILLE 0PERATING FURY DEMAND

COMPANY, LLC d/b/a NORRIS I'IEALTH AND
REHABILITATION CENTER,

Defendants.

AFFIDAVIT OF ARTHUR C. EARLS IV

STATE OF TENNESSEE )
COUNTY OF DAVIDSON )

Notice required by T.C.A.§29-26-121(a).

ARTHUR C. EARLS IV, being flrst duly sworn states the following:

l. I have personal knowledge of the matters stated in this Affidavit

2. I am employed at High Law Office, PLLC, as a law clerk.

3. On February 21, 2013, I mailed the attached four letters certified mail, return
receipt requested and obtained the attached certificates of mailing for each letter. The attached
certified letters to SSC Andersonville Operating Company, LLC were mailed to their business
addresses located at 33 82 Andersonville Highway, Andersonville, TN 37705-3816 and to their
Atlanta, Georgia business address located at l Ravinia Drive, Ste 1500, Atlanta, GA 30346-
2115 and to their agent for service of process, CT Corporation System, 800 South Gay Street, Ste
2021, Knoxville, TN 37929-9710. Also, the attached certified letter to Norris Health and
Rehabilitation Center was mailed to its business address located at 33 82 Andersonville Highway,

Andersonville, TN 37705-3816. I obtained certificates of mailing for all four letters.
Case 3:13-CV-00333-TAV-CCS Document 1-1 Filed 06/14/13 Page 50 of 93 Page|D #: 55

Thereafter, the attached return receipts were received back at High LaW Office, PLLC, (See
attached).

4. Copies of the certified mail receipts, certificates of mailing and the four letters
and attachments are attached to my Affidavit These letters Were all mailed by me as described
on February 21, 2013.

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This the l_ day of May 2013.

FURTHER this affiant saith not.

C Z/ZZ:
AR‘FKRC.;::ARLS IV

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SWORN TO AND SUBSCRIBED before me on this the ,,L day of May 2013.

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My Commission Exoires JUL¥ B. 2013

Case 3:13-CV-00333-TAV-CCS Document 1-1 Filed 06/14/13 Page 51 of 93 Page|D #: 56

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CaS€ 3213-CV-00333-TAV-CC - n

HIGH LAW OFFICE, PLLC

DAVID E. HIGH
Attorney-At-Law
Rule 31, Listed General Civil Mediator

(615)256-1000 300 James Robertson Parkwa at high@Bellsouth.Net
Y
(615)256-1009 - Fax Court Square Building, Second Floor wWw.highlawoffice.com
Nashville, Tennessee 37201

February21,2013

VIA CERTIFIED MAIL
RETURN RECEIPT REQUESTED

SSC Andersonville Operating Company, LLC
33 82 Andersonville HWY
Andersonville, TN 37705

Re: Deceased: Bomiie Ellen Jones
` Date of Birth: 6/13/31
Date of Death: 5/1 0/ 12
SSN: XXX-XX-XXXX
Our Clients: Sandra Loveday, Administrator of` the Estate of
Bonnie Ellen Jones, for the wrongful death of
Bonnie Ellen J ones
Potential Claim for Healthcare Liability
or Medical Malpractice

Notice Required by T.C.A. §29--26-121(a)
Dear Sir or Madam:

Attomey K. Christopher Martin, P. O. Box 584, Clinton, TN 37717 and High Law Of|:`lce,
PLLC, are the attorneys representing Sandra Loveday, Administrator of the Estate of Bonnie Ellen
Jones fora claim for healthcare liability 'or~medical malpractice and for the wrongfi).l death of
Bonnie Ellen Jones, on May 10, 2012, at your facility. Sandra Loveday is asserting a claim for
healthcare liability or medical malpractice for the negligent treatment received by Bonnie Ellen J ones
While at Norris Health & Rehabilitation Center, causing damages and injuries including her wrongful
death on May 10, 2012. Our investigation reveals acts of negligence by the employees and staff of
your facility, including negligently failure to administer, monitor and control the input of IV fluids
into Ms. J ones on May 9, 2012 and May 10, 2012, resulting in fluid overload and her wrongful death
on May 10, 2012.

These negligent acts and omissions occurred at Norris Health & Rehabilitation Center, 3382
Andersonville HWY, Andersonville, Tennessee 37705.

Case 3:13-CV-00333-TAV-CCS Document 1-1 Filed 06/14/13 Page 53 of 93 Page|D #: 58

SSC Andersonville Operating Company, LLC
February 21 , 2013
Page 2

The full name and date of birth of the patient whose treatment is at issue is:

Patient: Bonnie Ellen J ones
Date of Birth: 6/13/31

Date of` Death: 5/10/12

SSN: XXX-XX-XXXX

The name and address of the claimant authorizing this notice and relationship to the patient is:

Sandra Loveday, Administrator of` the Estate

of Bonnie Ellen J ones (Dauglrter of Bonnie Ellen Jones)
204 Sailview Lane

Clinton, TN 37716

The name and address of the attorney sending this notice is:

David E.- High

High Law Oflice, PLLC

Court Square Building

300 J ames Robertson Parkway, 2nd Floor
Nashville, TN 37201

Enclosed'herein is a list of the names and addresses of all providers being sent anotice.

Enclosed are HIPAA compliant medical authorizations permitting your corporation to obtain
complete medical records from each other provider being sent a notice.

Also enclosed are copies of` an Order Allowing the Appointment of Sandra Loveday
Adrninistrator of the Estate of Bonnie Ellen Jones, an Order Granting Letters of Administration,
and a Letter of Administration.

“ Please send a copy of this correspondence and all enclosures to your professional liability
insurance carrier and/or your legal counsel. I would appreciate hearing from your representative of`
your professional liability insurance carrier or your legal counsel as soon as possible.

_Sincerely,
W§
V/
David E. High
DEH:mel
Enclosures

cc: Norris Health & Rehabilitation Center "

Case 3:13-CV-00333-TAV-CCS Document 1-1 Filed 06/14/13 Page 54 of 93 Page|D #: 59

LIST OF NAMES AND ADDRESSES OF ALL PROVIDERS
BEING SENT A NO'I`ICE PURSUAN'I` TO T.C.A. §29-26-121(21)

Re: Claimant: Bonnie Ellen J ones
DOB: 6/13/31
DOD: 5/1 0/ 12
SSN#: XXX-XX-XXXX

The below is a list of` health care providers to whom notice is being given, pursuant to
T.C.A. §29-26-1`21(a), of a potential claim for medical malpractice:

1. Norris Health & Rehabilitation Center
3382 Andersonville HWY
Andersonville, 'I`N 37705

2. SSC Andersonville Operating Company, LLC
33 82 Andersonville HWY
Andersonville, 'I'N 37705

3. SSC Andersonville Operating Company, LLC
c/o C'I` Corporation Systems
800 South Gay Street, Ste 2021
Knonille, "I'N 37929-97-10

4a SSCAndersonvilleOperatingGompanys-LLG
1 Ravinia Drive, Ste 1500
Atlanta, GA 30346.-2115

Eac.h provider above is being sent a HIPAA compliant medical authorization permitting
each to obtain complete medical records from each other.

Case 3:13-CV-00333-TAV-CCS Document 1-1 Filed 06/14/13 Page 55 of 93 Page|D #: 60

THE SEVENTH JU`DICIAL DISTRICT FOR THE STATE OF TENNESSEE
CHANCERY DIVISION - PROBATE SECTION

IN THE MAT'I`ER OF:

The Estate of Bonnie Ellen Jones,

 

 

N°~= /5/”6' cage

Deceased,

Sandra Loveday,

Petitioner.

ORDER GRANTING LE'I'I'ER__S_OF ADM]N[STRATION

 

 

 

This cause came to be heard on thrria;;_¢?i+n t ?n 1 3__, UPOII the PCfitiOIJ
sworn testimony of the Petitioner and

filed by the designated Personal Representative and
witnesses The findings of the Court:

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m ¢- §-::‘§:'3 _
:~ < }*~§'3 A. Decedent was a resident of` Anderson County, Tennessee.
' : ;`~’ Decedent died on 05-10-2012.
33 Li. 1\:':
:_': 535 Decedent left no Will.
L)

That no bond is required

That the inventory for the Administrator is attached hereto.
stamentary be issued to the Administrator upon her taking oath

B
C
D. Sandra Loveday petitioned the Court to be appointed Administrator.
E
F.

G. That Letters of Te
as prescribed by statute.

H. That the Administrator administer the Estate in compliance with this Order and all
applicable laws of` the State of Tennessee.

ENTERmische_[(l:ayof' § W ,2013.

RECEI»VED
JAN 2# 2013

l/ \).N»€C?va\g

JUDGE WlLLIAM LAN'I`RIP\`"J

APPROVED FOR ENTRY BY:

K. CHRISTOPHER MARTIN (23765)
Attorney for the Estate
P. O. Box 584,

Clinton, TN 37717
(865) 457-3446

 

 

Case 3: 13- -C\/- -00333- TA\/- CCS Document1- 1 Filed 06/14/13 Page 57 of 93 Page|D #: 62

THE Si_-. ¢ ENTH JUDICIAL DISTRICT FOR. THE STATE OF TENNESSEE
CHANCERY DIVISION - PROBATE SECTION

]N THE MAT'I`ER OF:

The Estate of Bonnie Ellen Jones,
Deceased, No.: l 3 /5 0 0 z §
Sandra Loveday,

Petitioner.

ORDER ALLOW]NG THE APPOINTl\/,[ENT OF SANDRA LOVEDAY AS
_ADM]NISTRATOR OF THE ESTATE OF BONNIE ELLEN JONES

This cause came on to be heard on the day of 2013,

 

before the Honorable William Lantrip. Based upon the record as a whole, the Court is of the
opinion that Sandra Loveday be appointed Administrator of the Estate of Bonnie Ellen Jones,

IT IS THEREFORE ORDERED, ADJUDGED and DECREED that Sandra Loveday

be appointed Administrator of the Estate of Bonnie Ellen Jones.

ENTERED chisum [/Y/Jday of § f ,2013.

aka

m`i)GE wlLLIAM LANTRIP \-/

 

APPROVED FOR ENTRY BY:

K. CHRISTOPHER MART]N (23765)
Attorney for the Estate

Post Ofiice Box 584

Clinton, ’I'N 37717

865-457-3446

Case 3:13-CV-OO333-TAV-CCS Document 1-1 F_i|ed 06/14/13 Page 58 of 93 Page|[z#63

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`: STATE OF TENNESSEE

PROBATE DIVI S I On

IN RE: THE ESTATE OF BONNIE ELLEN JONES, DECEASED

NO: 13PBOO-20

LETTER OF ADMINISTR.ATION

` TO: SANDRA LOVEDAY

A CI_TIZEN OF ANDERSON COUNTY, TN

\

Whereas, It appears to the Court, now in session, that BONNIE ELLEN

JONES died, leaving no will and the Court being satisfied as to your
claim to the Administration. and you having given bond and qualified as
directed by law, and the Court having ordered that Letters'of
_sdministration be issued to'you; These are; therefore( to authorize and
'empower-you, the said SAHDRA;LOVEDAY to take into your possession and

noontrol, all the gopds, chattels,
_-inpestate, and return a_true and p
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olaims, and papers of-the said
erfect inventory thereof to our next
,sixty'(€O) days from the date hereof;

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'relation_to said estate_nhich
representative and after havin

lawfully devolve on you and personal
g settled up said estate, to deliver.the

~reside thereof to those who.have a right thereto.

Witness,,$tewe R._Qneener, Clerk
this `LL‘“" of FsBRUARY, 2013.

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and Master of said Court, at office,

 

 

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.dnties of Personal;Representative of the estate of BONNIB.ELLEN.JONES

-. according to lawn to;the best of my knowledge and ability; So_help_mp-

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Patient or Auth`orized Representative-'s Signature: ` ` ' ~
` _ ' - SANDRA E. LOVEDA¥,-AD 'I'OR OF
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300 James Robertson Pkwy, 2nd 631
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HIGH LAW OFFICE, PLLC

DAVID E. HIGH
Attorrley-At-Law
Rule 31, Listed General Civil Mediator

(615)256-1000 300 ]ames Robertson Parkway attyhigh@Bellsouth.Net
(615)256-1009 - Fax Court Square Building, Second Floor www.highlawoffice.com
Nashville, Tennessee 37201

February 21, 2013

VIA CERTIFIED MAIL
RETURN RECEIPT REQUESTED

SSC Andersonville Operating Company, LLC
1 Ravinia Drive, Ste 1500
Atlanta, GA 30346-2115

Re: Deceased: Bonnie Ellen J ones
' Date of Birth: 6/13/31
Date of Death: 5/1 O/ 12
SSN: XXX-XX-XXXX
Our Clients: Sandra Loveday, Administrator of the Estate of
Bonnie Ellen Jones, for the wrongful death of
Bonnie Ellen J ones
Potential Claim for Healthcare Liability
or Medical Malpractice '

Notice Required by T.C.A. §29-26-121(a)
Dear Sir or Madam:

Attorney K. Christopher Martin, P.` O. Box 5 84, Clinton, TN 37717 and High Law Oflice, PLLC, _
are the attorneys representing Sandra Loveday, Administrator of the Estate of Bonnie Ellen Jones for
a claim for healthcare liability or medical malpractice and for the wrongful death of Bonnie Ellen
Jones, on May 10, 2012, at your facility. Sandra Loveday is asserting a claim for healthcare liability
or medical malpractice for the negligent treatment received by Bonnie Ellen J ones while at Norris
Health & Rehabilitation Center, causing damages and injuries including her wrongful death on May
10, 2012. Our investigation reveals acts of negligence by the employees and staff of your facility,
including negligently failure to administer, monitor and control the input of IV fluids into Ms. Jones
on May 9, 2012 and May 10, 2012, resulting in fluid overload and her wrongful death on May 10,
2012. y

These negligent acts and omissions occurred at Norris Health & Rehabilitation Center, 3382
Andersonville HWY, Andersonville, Tennessee 37705.

Case 3:13-CV-OO333-TAV-CCS Document 1-1 Filed 06/14/13 Page 62 of 93 Page|D #: 67

SSC Andersonville Operating Company, LLC
February 21, 2013
Page 2

The full name and date of birth of the patient whose treatment is at issue is:

Patient: Bonnie Ellen J ones
Date of Birth: 6/13/31

Date of Death: 5/1 O/ 12

SSN: XXX-XX-XXXX

The name and address of the claimant authorizing this notice and relationship to the patient is:

Sandra Elizabeth Loveday, Administrator of the Estate
of Bonnie Ellen J ones (daughter of Bonnie Ellen Jones)
204 Sailview Lane

Clinton, 'IN 37716

The name and address of the attorney sending this notice is:

David E. High

High Law Ofl`lce, PLLC

Court Square Building

300 J ames Robertson Parkway, 2nd Floor
Nashville, TN 37201

Enclosed herein is a list of the names and addresses of all providers being sent a notice.

Enclosed are HIPAA compliant medical authorizations permitting your corporation to obtain
complete medical records from each other provider being sent a notice.

Also enclosed are copies of an Order Allowing the Appointment of Sandra Loveday
Administrator of the Estate of Bonnie Ellen Jones, an Order Granting Letters of Administration,
and a Letter of Administration.

Please send a copy of this correspondence and all enclosures to your professional liability
insurance carrier and/or your legal counsel. I would appreciate hearing from your representative of
your professional liability msurance carrier or your legal counsel as soon as possible.

%M/i

Sincerely,

David E. ngh

DEH:mel
Enclosures

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LIST OF NAMES AND ADDRESSES OF ALL PROVIDERS
BEING SENT A NOTI'CE PURSUAN'I` TO T.C.A. §29-26-121(a)

Re: ` Claimant: Bonnie Ellen J ones
DOB: 6/13/31
DOD: 5/10/-12
SSN#: 409-44~7088

The below is a list of health care providers to whom notice is being given, pursuant to
T.C.A. §29-26-121(a), of a potential claim for medical malpractice:

1. Norris Health & Reha`bilitation Center
33 82 Andersonville HWY
_ Andersonville, 'IN 37705

2. SSC Andersonville Operating Company, LLC
33 82 Andersonville HWY
Andersonville, TN 37705

3. - SSC Andersonville Operating Company, LLC
c/o CT Corporation Systems
800 South Gay Street, Ste 2021
.Knox'ville, 'IN 37929-97.10

~-47 --S'SCAnder»scnvilleO_peratingGompany;LLG- ~
'1 Ravinia Drive, Ste 1500
Atlanta, GA 30346-2115

Each provider ~'above is being sent a HIPAA compliant medical authorization permitting
each to obtain complete medical records from each other.

`Case 3:13-CV-OO333-TAV-CCS_ Dooument 1-1 Filed 06/14/13 Page 64 of 93 Page|D #: 6'9

THE SE VEN`I`H JUDICIAL DISTRIC’I` FOR THE S'I`ATE OF TENNESSEE
CHANCERY DIVISION - PROBA'I'E` SEC'I`ION

IN THE MAT'I`ER OF:

 

The Estate of Bonnie Ellen Jones,

H_~` H--~

Deceased, No.: /3/05 0 O‘?@
Sandra Loveday,
Petitioner.
ORDER GRANT]NG LE'I'I`ERS OF ADL*[[NISTRATION
f
This cause came to be heard on l _ upon the Petitiol
' - liled by the designated Persona] Representative and sworn testimony of the Petitioner ana
53 Q,_ m witnesses The findings of the Court:
- - l.:._l Ll-l
"’a. O" ;=;: " '
’:“~_j' < §§ _‘;’_.3 A. Decedent was a resident of Anderson County, Tennessee.
.' : :::j Decedent died on 05-10-2012.
:»‘- § 515 Decedent left no Will.
§ SES

That_ll°, bolld,,__i$ required
That the inventory for the Administrator is attached hereto.

G. That Letters of Testamentary be issued to the Administrator upon her taking oath
as prescribed by statute.

_ H. That the Administrator administer the Estate in compliance with this Order and all
applicable laws of the State of Tennessee.

ENTER this the l f{/d,ay of § W , 2013.

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D. Sandra Loveday petitioned the Court to be appointed Administrator.
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F

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Case 3'13-CV-OO333-TAV-CCS Document 1-1 Filed 06/14/13 Page 65 of 93 Page|D #: 70

Jj\)w» §

JUDGE WlLLIAM LANTRIP“-'

APPROVED FoR ENTRY BY=

-.%`r

K. CHRISTOPHER MARTIN (23765)
Attorney for the Estate

P.O. Box 584,

Clinton, TN 37717

(865) 457-3446

 

- CaS€ 3'13-Cl/-00333-TAV-CCS DOCUm€nt l-l Filed 06/14/13 Page€€iOTQS P_age|D #Z 71

 

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THE Sh. . ENTH JU])ICIAL DIS’I`RIC’I` FOR THE STATE OF TENNESSEE
CHANCERY DIVISION - PROBATE SEC'I`ION

lN THE MATI`ER OF:

The Estate of Bonnie Ellen Jones,
Deceased, No.: l 5 /75 § 0 Z' §

Sandra Loveday,

Petitioner.

\_l\-_|\d\_¢\-_i\_d\_l\_l\-d

ORDER ALLOW]NG THE APPOINTMIENT OF SANDRA LOVEDAY AS
ADM]NISTRATOR OF THE ESTATE OF BONNIE ELLEN JONES

 

 

This cause came on to be heard on the day of 20'13,
§ ‘__ before the Honorable William Lantrip. Based upon the record as a whole, the Court is of the
- 3
é" 1-§__“,~, opinion that Sandra Loveday be appointed Administrator of the Estate of Bonnie Ellen Jones.
<i §

§ _ IT IS THEREFORE ORDERED, ADJUDGED and DECREED that Sandra Loveday
!` :/ be appointed Administrator of the Estate of Bonnie Ellen Jones,

553 "-"’<_J ENTEREDthisthe l/T//day of g § ,2013.

JU"i)GE wlLLIAM LANTRIP

13 ?EB ll

APPROVED FOR ENTRY BY:

K. CHRISTOPHER MARTIN (23765)
Attorney for the Estate

Post Office Box 584

Clinton, TN 37717

865-457-3446

Case 3:13-CV-00333-TAV-CCS Document 1-1 Filed 06/14/13 Page 67 of 93 Plage|D #: 72

:lN ~T.~'I~"" S'E»V.ENTH ]UDlClAL :D:|S'TRICT- FOR .":. STATE OF TENNESSEE

` L_ y PROBATE DIVISION

IN RE: THE ESTATE .OF BONNIE ELLEN JONES, DECEASED

NO: lBPBOOZO

LETTER OF ADMINISTRATION ' `
' TO: SANDRA LOVEDAY

A curan oF ANDERSON coUN'rY, TN
\
_Whe_r_eas, `It appears to the 'Court, now-`in session, that BONNIE"ELLEN
JONES died, leaving no will and the Court being satisfied as to your
claim tlo the;Administ:ration`, and you having given bond and qualified as
_ directed__`_by law, and the Court having ordered that Letters of
__A<'Lfmo°.nis_t::r:at_io::t-_1|:.»e‘_is`:a:\:¢e`_c`i-;_t<:.~d you;,- These are,' therefore, to authorize and
empower you, the lsaid S_AN]_J__R.A :;»QYEDAY to take into your possession and
-.oout_rol, alll .the_.`_'gopds_, chattels, claims, and papers -of» the said`~
iatestai_:e, `af.'ud return a '__t;:ue, and perfect inventory thereof to our next
,.C§h_ance§cy P_r`ob'ate Court, or _'_wit:hin sixty (60} days from the date'hereof;
"-to__` .`<:o_.`tg__ec.t:_ and pay__al].. _debt`s, ;and to do ,-a.ud transact-all the duties in
_ _`j l=relation_ to said estate ___which_ lawfully devolve on you and personal
. representative and _s.f.ter~having settled up_said estate, .to deliverl the
reside thereof to those who have a right thereto.

Witnes__s_:, __Ste_v_e R. _Queener, .Clerk and Master of said Court, at office,
this ¢["" of FsBRuARY, 2013. .

 

 

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3 -Pagel`D `#: 73

 

- Patient's Name: _ BONNIE'ELLEl\-I JONES, deceased

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Case 3:13-CV-00333-TAV-CCS Document 1-1 Filed 06/14/13 Page 70 of 93 PagelD #: 75

HIGH LAW OFFICE, PLLC

DAVID E. HIGH
Attomey-At-Law
Rule 31, Listed General Civil Medjator

(615)256-1000 300 James Robertson Parkway attyhigh@Bellsouth.Net
(615)256-1009 - Fax Court Square Building, Second Floor - www.highlawoffice.com '
Nashville, Tennessee 37201

February 21, 2013

VIA CERTIFIED MAIL
RETURN RECEIPT REQUESTED

SSC Andersonville Operating Company, LLC
c/_o CT Corporation Systems

800 South Gay Street, Ste 2021

Knoxville, TN 37929-9710

Re: Deceased: 'Bonnie Ellen J ones

Date of Birth: 6/13/31

Date of Death: 5/1 0/ 12

SSN: XXX-XX-XXXX

Our Clients: Sandra Loveday, Administrator of the
Estate of Bonnie Ellen J ones for the wrongful death of
Bonnie Ellen J ones
Potential Claim for Healthcare Liability
or Medical Malpractice

Notice Required by T.C.A. §29-26-121(a)
Dear Sir or Madam:

You are listed as the agent for service of process for SSC Andersonville.Operating Company,
LLC, which is the owner of Norris Health & Rehabilitation Center, 3382 Andersonville HWY,
Andersonville, 'IN 37705. Attorney.K. Christopher Martin, P. O. Box 584, Clinton, 'IN 37717
and High Law OHice, PLLC, are the attorneys representing Sandra Loveday, Administrator of the
Estate of Bonnie Ellen Jones for a claim for healthcare liability or medical malpractice and for the
wrongful death of Bonnie Ellen Jones, on May 10, 2012, at your facility, Sandra Loveday is
asserting .a claim for healthcare liability or medical malpractice for the negligent treatment received
by Bonnie Ellen J ones while at Norris Health & Rchabilitation Center, causing damages and injuries
including her wrongful death on May 10, 2012. Our investigation reveals acts of negligence by the
employees and staff of your facility, including negligently failure to administer, monitor and'control
the input of IV fluids into Ms. J ones on May 9, 2012 and May 10, 2012, resulting in fluid overload
and her wrongful death on May 10, 2012.

These negligent acts and omissions occurred at Norris Health & Rehabilitation Center, 3382
- Andersonville HWY, Andersonville, Tennessee 37705. '

Case 3:13-CV-00333-TAV-CCS Document 1-1 Filed 06/14/13 Page 71 of 93 PagelD #: 76

SSC Andersonville Operating Company, LLC
c/o CT Corporation Systems

February 21, 2013

Page 2

The full name and date of birth of the patient whose treatment is at issue is:

Patient: Bonnie Ellen J ones
Date of Birth: 6/13/31

Date of Death: 5/1 0/ 12

SSN: XXX-XX-XXXX

The name and address of the claimant authorizing this notice and relationship to the patient is:

Sandra Loveday, Administrator of the Estate

of Bonnie Ellen Jones (daughter of Bonnie Ellen Jones)
204 Sailview Lane

Clinton, 'IN 3 77 1 6

The name and address of the attorney sending this notice is:

David E. High

High Law Office, PLLC

Court Square Building

300 James Robertson Parkway, 2““ Floor
Nashville, 'IN 37201 `

Enclosed herein is a list of the names and addresses of all providers being sent a notice.

Enclosed are HIPAA compliant medical authorizations permitting your corporation to obtain
complete medical records from each other provider being sent a notice.

Also enclosed are copies of an Order Allowing the Appointment of Sandra Loveday
Administrator of the Estate of Bonnie Ellen Jones, an Order Granting Letters of Administration,
and a Letter of Administration.

Please send a copy of this correspondence and all enclosures to the appropriate individuals
at Nonis Health & Rehabilitation Center, 3382 Andersonville HWY, Andersonville, 'IN 37705 and
SSC Andersonville Operating Company, LLC, 33 82 Andersonville HWY, Andersonville, TN
37705 and to the professional liability insurance can‘ier and/or legal counsel of said Rehabilitation
Center and said limited liability corporation for this claim and/or legal counsel, to contact me.

David E. High
DEH:mel
Enclosures

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LIST OF NAMES AND ADDRES SES OF ALL PROVIDERS
BEING SENT A NOTI'CE PURSUAN'I` TO T.C.A. §29-26-121(a)

Re: Claimant: Bonnie Ellen J ones
DOB: 6/'13/31
DOD: 5/1'0/12
SSN#: XXX-XX-XXXX

The below is a list of health care providers to whom notice is being given, pursuant to
T.C.A. §29-26-121(a), of a potential claim for medical malpractice:

1. Norris Health & Reha'bilitation Center
3382 Andersonville HWY
Andersonville, 'IN 37705

2. SSC Andersonville Operating Company, LLC
3382 Andersonville HWY
Andersonville, 'I`N 37705

3. SSC Andersonville Operating Company, LLC-
c/o CT Corporation Systems
800 South Gay Street, Ste 2021
Knoxville, 'I'N 37929-9710

-4= SSC Andersonville()peeating€empany§-~LLG-
1 Ravinia Drive, Ste 1500
Atlanta, GA 30346-2115

._ Each provider above 1s being sent a HIPAA compliant medical authorization permitting
each to obtain complete medical records from each othert

`Case 3:13-cV-00333-TAV-CCS_ Doc'ument 1-1 Filed 06/14/13 Page 73 of 93 Page|D #: 78

THE SEVENTH JUDICIAL DISTRIC'I` FOR THE STA'I`E OF TENNESSEE
M`
lN THE MAT'I`ER OF:
The Estate of Bonnie Ellen Jones,
Deceased, No.: /3,05 0 04 3
Sandra Loveday,

Petitioner.

ORDER GRAN'I'ING LETI‘ERS OF ADl\/HNISTRATION

 

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This cause came to be heard on r~'phmary .=|H-h pm 2 . upon the Petitio_
' filed by the designated Personal Representative and sworn testimony of the Petitioner an
;° witnesses The findings of the Court:

A. Decedent was a resident of Anderson County, Tennessee.
Decedent died on 05-10-2012.

Decedent left no Will.

 

B
C
D. Sandra Loveday petitioned the Court to be appointed Administrator.
13 That no bond__is required

F. That the inventory for the Administrator is attached hereto.

G. That Letters of` Testamentary be issued to the Administrator upon her taking oat`r
as prescribed by statute.

H. That the Administrator administer the Estate in compliance with this Order and all
applicable laws of the State of Tennessee.

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RiECElVED
JAN Zli 2013

Case 3'13-CV-OO333-TAV-CCS Document 1-1 Filed 06/14/13 Page 74 of 93 Page|D #: 79

t_ .~»§:

JUDGE WiLLIAM` LANrRIr`>r-’

APPROVED FOR ENTRY BY:

~.{%`___

K. CHRISTOPHER MART]N (23765)
Attorney for the Estate

P.O. Box 584,

Clinton, TN 37717

(865) 457-3446

 

n Case 3:13-CV-OO333-TAV-CCS Document 1-1 Filed 06/14/13

Page 75 of 93 Page|D #: 80

THE S, v ENTH JUDICIAL DISTRICT FOR' 1"I`I§[E S'I`ATE OF TENNESSEE
x

CI~IANCERY DIVISION - PROBATE SECTION

IN THE MATI`ER OF:
The Estate of Bonnie Ellen Jones,
Deceased, No.: l 3 /5 OOZ’B
Sandra Loveday,

Petitioner.

-~\d-~_l~

ORDER ALLOWING THE APPOH\TTDIENT OF SANDRA LOVEDAY AS
ADMIN'ISTRATOR OF THE ESTATE OF BONNIE ELLEN JONES

This cause came on to be heard on the day of

/f§@

/l\ Ct='\'\

2013,
before the Honorable William Lantrip. Based upon the record as a whole, the Court is of the

 

~_"".` t

opinion that Sandra Loveday be appointed Administrator of the Estate of Bonnie Ellen Jones.

 

<»"‘-`- ; 1 IT IS THEREFORE ORDERED, ADJUDGED and DECREED that Sandra Loveday

’B\\

… 1~'§;»;» be appointed Administrator of the Estate of Bonnie Ellen Jones.
“'~' :_i;a

ENTERED this the l /Vday of

2013.

1)\)»/»€ WQ»~@

JU"J')GE erLIAM LANTRn> \-/
APPROVED FOR ENTRY BY:

K. CHRISTOPHER MARTIN (23765)
Attorney for the Estate

Post Office Box 584

Clinton, TN 37717

865-457-3446

Case 3:13-CV-OO333-TAV-CCS Document 1-1 F_i|ed 06/14/13 Page 76 of 93 Page|D#Sl

`lN T.€V’ SEVENTH ]UD`|ClAL DlSTRlCT FOR `;STATE OF TENNESSEE
PRoBA'r-E Drvrsron '

IN RE: THE ESTATE OF BONNIE -ELLEN JONES, DECEASED

NO: 13PB0020

LETTER OF ADMINISTRATION

' TO: SANDRA LOVEDAY

A CITIZEN OF ANDERSON COUNTY, _TN

. \
Whereas,.It appears to the Court, now in session, that BONNIE ELLEN
JONES died, leaving no will and the Court being satisfied as to your
claim to the Administration; and you having given bond and qualified as
directed by law, and the Court having ordered-that Letters of

_Administration be issued to yqu; Tbese.are; therefore( to authorize and
_empower.you,_the said SANDRA:LOVEDAY to take into your possession and
pccntrol,.all the gopds, chattels, claims, and papers of the said

intestate, and_return a true and perfect inventory thereof to our next
abate Court, or within_sixty (60) days from the date hereof;

\

eto collect and pay_all.debts, and to do and transact-all the duties in
'relation to said estate.which lawfully devolve on.you and personal

representative and after having settled up_said estate, to deliver.the
reside thereof to'those whn.have a right thereto.

Witnes§,.$teve R..Queener, Clerk and Master of said Court, at office,
this L¢"'“ of Fr_:BRUARY, 2013. .

 

 

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STATE 'OF' TENNESS§B,-_ANDERS_QN_ CQUN'.!'Y

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_n according to lawg_tp the best of my knowledge and ability. So help mp-
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protected rccords'such as those -relating.to psychological or psychiatric impainnents, drug ;abuse, alcoholism
sickle cell anemia, or~HIV infection,` ete. This` Relcase.covccs any tindall-medical records whatsoever.

 

 

 

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Domestlc Return Recé|pt

Case 3:13-CV-00333-TAV-CCS Document 1-1 Filed 06/14/13 Page 79 of 93 Page|D #: 84

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'~

HIGH LAW OFFICE, PLLC

DAVID E. HIGH
Attorney-At-Law
Rule 31, Listed General Civil Mediator

(615)256-1000 300 James Robertson Parkway attyhigh@Bellsouth.Net
(615)256-1.009 - Fax Court Square Building, Second Floor www.highlawoffice.com
Nashville, Tennessee 37201
February 21, 2013
VIA CERTIFIED MAIL
RETURN RECEIPT REQUESTED
Norris Health & Rehabilitation Center
ATIN: Nursing Home Administrator
3382 Andersonville HWY
Andersonville, TN 37705
Re: Deceased: Bonnie Ellen J ones
Date of Birth: 6/13/31
Date of Death: 5/10/12
SSN: XXX-XX-XXXX
Our Clients: Sandra Loveday, Administrator of the Estate of
Bonnie Ellen J ones for the wrongful death of
Bonnie Ellen J ones
Potential Claim for Healthcare Liability
or Medical Malpractice

Notice Required by T.C.A. §29-26-121(a)
Dear Sir or Madam:

Attorney K. Christopher Martin, P. O. Box 584, Clinton, TN 37717 and High Law Oflice, PLLC,
are the attorneys representing Sandra Loveday, Administrator of the Estate of Bonnie Ellen J ones for
a claim for healthcare liability or medical malpractice and for the wrongful death of Bonnie Ellen
Jones, on May 10, 2012, at your facility, Sandra Loveday is asserting a claim for healthcare liability
or medical malpractice for the negligent treatment received by Bonnie Ellen J ones while at Norris
Health & Rehabilitation Center, causing damages and injuries including her wrongful death on May
10, 2012. Our investigation reveals acts of negligence by the employees and staff of your facility,
including negligently failure to administer, monitor and control the input of IV fluids into Ms. Jones
on May 9, 2012 and May 10, 2012, resulting in fluid overload and her wrongful death on May 10,
2012.

Thcse negligent acts and omissions occurred at

Norris Health & Rehabilitation Center, 3382
Andersonville HWY, Andersonville, Tennessee 37705. '

Case 3:13-CV-00333-TAV-CCS Document 1-1 Filed 06/14/13 Page 80 of 93 Page|D #: 85

Norris Health & Rehabilitation Center
February 21, 2013
Page 2

The full name and date of birth of the patient whose treatment is at issue is:

Patient: Bonnie Ellen J ones
Date of Birth: 6/13/31

Date of Death: 5/10/12

SSN: XXX-XX-XXXX

The name and address of the claimant authorizing this notice and relationship to the patient is:

Sandra Loveday, Administrator of the Estate of Bonnie Ellen J ones
204 Sailview Lane
Clinton, 'IN 37 716

The name and address of the attorney sending this notice is:

David E. High

High Law Office, PLLC

Court Square Building

300 J ames Robertson Parkway, 2ncl Floor
Nashville, TN 37201

Enclosed herein is a list of the names and addresses of all providers being sent a notice.

Enclosed are HIPAA compliant medical authorizations permitting your corporation to obtain
complete medical records from each other provider being sent a notice.

Also enclosed are copies of an Order Allowing the Appointment of Sandra Loveday

Administrath of the Estate of Bonnie Ellen Jones, an Order Granting Letters of Administration,
and a Letter of Administration.

Please send a copy of this correspondence and all enclosures to your professional liability
insurance carrier and/or your legal counsel. I would appreciate hearing from your representative of
your professional liability insurance carrier or your legal counsel as soon as possible.

David E. High

DEH:mel
Enclosure

cc: SSC Andersonville Operating Company, LLC

Case 3:13-CV-OO333-TAV-CCS Document 1-1 Filed 06/14/13 Page 81 of 93 Page|D #: 86

LIST OF NAl\/[ES AND ADDRESSES OF ALL PROVIDERS
BEING SENT A NOT.['CE PURSUANT T.O T.C.A. 629-26-121(a)

Re: Claimant: Bonnie Ellen J ones
DOB: 6/13/3 l
DOD: ’S/I 0/12
SSN#: XXX-XX-XXXX

The below is a list of health care providers to whom notice is being given, pursuant to
T.C.A. l§.29-26-1§21(a), of a potential claim for medical malpractice:

1. Norris Health & Rehabilitation Center
3382 Andersonville HWY
Andersonville, 'IN 37705

2. SSC Andersonville Operating Company, LLC
33 82 Andersonville HWY
Andersonville, 'IN 37705

3. SSC Andersonville Operating Company, LLC
c/o CT Corporation Systems
800_ South Gay Street, Ste 2021
Knoxville, TN 37929-971‘0

-- -4; -¢ - SSC Andepson¥ille@per~ating;€ompan§g-LLG
'1 Ravinia Drive, Ste 1500
Atlanta, GA 30346-2115

.Each provider above is being sent a HIPAA compliant medical authorization permitting
each to obtain complete medical records from each other\

` Case 3:13-CV-00333-TAV-CCS Document 1-1 Filed 06/14/13 Page 82 of 93 Page|D #: 87

THE SEVEN'I`H JUDICIAL DISTRICT FOR THE STATE OF TENNESSEE
CHANCERY DIVISION - PROBATE SEC'I`ION

IN THE MAT'I`ER OF:

 

 

The Estate of Bonnie Ellen Jones,

N°'= /5/”500¢3@

-_. -~__~

Deceased,
Sandra Loveday,
Petitioner.
ORDER GRAN'I`]NG LE'ITERS OF ADM]NISTRATION
(
This cause came to be heard on l upon the Petition
' filed by the designated Persorlal Representative and sworn testimony of the Petitioner and
f et m witnesses The findings of the Court:
=\ <'>‘ `;?3§' if -
: < }jj_'j_? A. Decedent was a resident of Anderson County, Tennessee.
: D°` Decedent died on 05_10-2012.
33 tim ::
‘*"' :‘} iii Decedent left no Will.
52 ill L‘-J
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That no bond___iS required
That the inventory for the Administraror is attached hereto.

G. 'Ihat Letters of Testamentary be issued to the Administrator upon her taking oath
as prescribed by statute.

H. That the Administrator administer the Estate in compliance with this Order and all
applicable laws of the State of Tennessee.

ENTERESthe_/Lf/dayof §W ,2013. l

B
C
D. Sandra Loveday petitioned the Court to be appointed Administrator.
E
F

RECE|'VED
JAN 24 2033

Case 3'13-CV-OO333-TAV-CCS Document 1-1 Filed 06/14/13 Page 83 of 93 Page|D #: 88

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_l, .N\ § l
JUDGE WlLLIAM LANTRIP"-’

APPROVED FOR ENTRY BY:

K. CHRISTOPHER MARTIN (23765)
Attorney for the Estate

P.O. Box 584,

Clinton, TN 37717

(865) 457-3446

 

Case 3'13-CV-OO333-TAV-CCS Document 1-1 Filed 06/14/13 Page 84 of 93 Page|D #: 89

.lN w :EVENT~H ;uchlAifDis`TmCT FoR 3 sTArE oF TENNESSEE
PROBATE D`IVISION '

IN RE: THE ESTATE OF BONNIE ELLEN JONES, DECEASED

NO: l3PB0020

LETTER OF A'DHINISTR'ATION ' `
' TO: SANDRA LOVEDAY

A CITIZEN OF ANDERSON COUNTY, TN

_ \
_Whereas,.lt appears to the Court, now in session, that BONNIE ELLEN
JONES died, leaving no will and the Court being satisfied as to your
claim to the;Administration}-and you having given bond and.qualifiéd as
directed by law, and the Court having ordered that Letters_of
§Administration be issued to'yqu; These are; therefore, to authorize and
.empower.you,_the said SANDRA:LDVEDAY to take into your possession and
.eontrol, all the_gopds, chattels, claims, and.papers-of the said

_-in§estate, and_return a true and perfect inventory thereof to our next
inqhancery Probate Court, or within sixty {60) days from the date hereof;

\

jto:collect`and pay all_debts, and to deland transact all the duties in
jrelation_to said estate which-lawfully devolve on you and personal
representative and after having settled up said estate, to deliver the
-reside thereof to'those who.have a right thereto.

Witnes§,.$teve R. Qneener, Clerk and Master of said Court, at office,
this ¢L"’ of F.~EBRUAR-Y, 2013. .

 

 

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STATE' `OF TENNESSEE,ANDKRSQ_N COIJ§TY

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EXH|B|T

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IN THE CIRCUIT COURT FOR ANDERSON COUNTY, TENNES

SANDRA LOVEDAY, Administrath of the
Estate of BONNIE ELLEN JONES and
SANDRA LOVEDAY, individually and as next
of kin and for the wrongful death of BONNIE
ELLEN JONES,

Plaintiffs,

No.:

SSC ANDERSONVILLE OPERATlNG JURY DEMAND

COMPANY, LLC d/b/a NORRIS HEALTH AND
REHABlLITATION CENTER,

Defendants.

CERTIFICATE OF GOOD FAITH
Medical Malpractice Case
Plaintiff's Form

A. In accordance with T. C. A. §29-26-122, 1 hereby state the following: (Check item 1 or 2
below and sign your name beneath the item you have checked, verifying the information you
have checked F ailure to check item l or 2 and/or not signing item 1 or 2 will make this case
subject to dismissal with prejudice )

mg 1. The Plaintiff or Plaintilfs counsel has consulted with one (1) or more experts Who
have provided a signed written statement conlinning that upon information and belief they:

(A) Are competent under T.C.A. §29-26-115 to express opinion(s) in the case;
and

(B) Believe, based on the information available from the medical records
conceming the care and treatment of the Plaintil`f for the incident(s) at issue, that
there rs a good faith basis to maintain the action consistent with the requirements of

T. cA §29-2@115.
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Signature of Plaintrl`f rf not mpres€Wd:m/
Signature ofPlaintilfs counsel

 

Case 3:13-CV-OO333-TAV-CCS Document 1-1 Filed 06/14/13 Page 87 of 93 Page|D #: 92

OR,

m 2. The Plajntiff or Plaintiffs counsel has consulted with one (1) or more experts Who
have provided a signed Written statement coniir'ming that upon information and belief they:

(A) Are competent under T.C.A. §29-26-1 15 to express opinion(s) in the case;
and

(B) Believe, based on the information available from the medical records
reviewed concerning the care and treatment of the Plaintiff for the incident(s) at
issue and, as appropriate, information nom the Plaintiif or others with knowledge of
the incident(s) at issue, that there are facts material to the resolution of the case that
cannot be reasonably ascertained nom the medical records or information
reasonably available to the Plaintiif or Plaintiifs counsel; and that despite the
absence of this information, there is a good faith basis for maintaining the action as
to each Defendant consistent with the requirements of T.C.A. §29-26-115. Refusal
of the Defendant to release the medical records in a timely fashion, or where it is
impossible for the Plaintiff to obtain the medical records, shall waive the
requirement that the expert review the medical records prior to expert certification

 

Signature of Plaintiff if not represented, or
Signature of Plaintiffs counsel

2

Case 3:13-cV-OO333-TAV-CCS Document 1-1 Filed 06/14/13 Page 88 of 93 Page|D #: 93

IN THE CIRCUIT COURT FOR ANDERSON COUNTY, TENNESSEE

SANDRA LOVEDAY, Administrator of the
Estate of BONNIE ELLEN JONES and
SANDRA LOVEDAY, individually and as next
of kin and for the wrongful death of BONNIE
ELLEN JONES,

Plaintiffs,

No.: §3%0\ l 0

SSC ANDERSONVILLE OPERAT]NG JURY DEMAND

COMPANY, LLC d/b/a NORRIS HEALTH AND
REHABILITATION CENTER,

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Defendants.

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CERTIFICATE OF GOOD FAITH
Medical Malpractice Case
Plaintiff' s Form

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A. In accordance with T.C.A. §29-26-122, 1 hereby state the following: (Check item 1 or 2
below and sign your name beneath the item you have checked, verifying the information you
have checked F ailure to check item 1 or 2 and/or not signing item 1 or 2 Will make this case
subject to dismissal with prejudice.)

/K 1. The Plaintiff or Plaintiffs counsel has consulted with one (1) or more experts Who
have provided a signed Written statement continuing that upon information and belief they:

(A) Are competent under T.C.A. §29-26-115 to express opinion(s) in the case;
and

(B) Believe, based on the information available from the medical records
concerning the care and treatment of the Plaintiff for the incident(s) at issue, that

there is a good faith basis to maintain the action consistent with the requirements o
T.C.A. §29-26-115. /
§ ,

Signature of Plaintiff if not represented, or
Signature ofPlaintitfs counsel

 

Case 3:13-cV-OO333-TAV-CCS Document 1-1 Filed 06/14/13 Page 89 of 93 Page|D #: 94

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OR,

|:l 2. The PlaintiH` or Plaintiffs counsel has consulted with one (l) or more experts who
have provided a signed written Statement confirming that upon information and belief they:

(A) Are competent under T.C.A. §29-26-1 15 to express opinion(s) in the case;
and

(B) Believe, based on the information available from the medical records
reviewed concerning the care and treatment of the Plaintiif for the incident(s) at
issue and, as appropriate, information nom the Plaintiff or others with knowledge of
the incident(s) at issue, that there are facts material to the resolution of the case that
cannot be reasonably ascertained nom the medical records or information
reasonably available to the Plairrtiff or Plainst counsel; and that despite the
absence of this information, there is a good faith basis for maintaining the action as
to each Defendant consistent with the requirements of T.C.A. §29-26-115. Refusal
of the Defendant to release the medical records in a timely fashion, or where it is
impossible for the Plaintiff to obtain the medical records, shall waive the
requirement that the expert review the medical records prior to expert certification

 

Signature of Plaintiif if not represented, or
Signature of Plaintiffs counsel

2

Case 3:13-cV-OO333-TAV-CCS Document 1-1 Filed 06/14/13 Page 90 of 93 Page|D #: 95

B. You MUST complete the information below and sign:

I have been found in violation of T.C.A. §29-26-122 § 2 prior times.
(lnsert number of prior violations by you.)

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IN THE CIRCUIT COURT FOR ANDERSON COUNTY, TENNESSEE

SANDRA LOVEDAY, Administrator of the )
Estate of BONNIE ELLEN JONES and )
SANDRA LOVEDAY, individually and as next )
of kin and for the wrongful death of BONNIE )
ELLEN JONES, `)
)
Plaintiffs, )
)
v. )
) ,_
) No.: &S-i-Aoi |§
SSC ANDERS ONVILLE OPERATING ) JURY_]§EMAW) _z:
COMPANY: LLC d/b/a NORRIS HEALTH AND ) §§ wh
REHABILITATION CENTER, ) l 3
) @“ d»? i
Defendants. ) jj J
..f:'
3
NOTICE OF FILING

PLEASE TAKE NOTICE that counsel for the plaintiff frles the attached Certifrcate
of Good Faith, Medical Malpractice Case, Plaintiffs Form, with the Clerk of this
Honorable Court.

Respectfully submitted,
HIGH LAW OFFICE, PLLC

 

DAVID E. HIGH (#7052) ”I //

300 J ames Robertson Parkway, 2nd Floor
Nashville, TN 37201-1107
615/256-1000

ar;tyhz` @belisoz¢th. net

A._.»»»¢-~

IKHHHFS"FOPHER MARTIN (#23765)
{ P. O. Box 584

Clinton, TN 37717

365/457-3446

kcmlaw@yahoo. com

F or the Plainti#

Case 3:13-cV-OO333-TAV-CCS Document 1-1 Filed 06/14/13 Page 92 of 93 Page|D #: 97

IN THE CIRCi;_t/l` COURT FOR ANDERSON COUI'; 1 Y, TENNESSEE

 

   

 
    
 
 

 

SANDRA LOVEDAY. Administrator of the Estate )
of BONNIE ELLEN JONES and SANDRA ) _ _d*__ ______;M_____“L_L___~
LOVEDAY, individually and as next of kin and for ) H; YO§J; Hp»\j:= g USSABH_ETY
) `;;;:‘“`; \ `° ;\`E.!§ -‘Rf' . m . . l
Plaimiffs, ) if trw wiener
V- § W " 365-563~6824
SSC ANDERSONVILLE OPERATING )
coMPANY, LLC d/b/a NoRRIs HEALTH AND ) NO_:M l l 0 \/
REHABILITATION CENTER, ) JURY DEMAND
)
Defendants. )

SERVE: SSC ANDERSONVILLE OPERATING COMPANY, LLC

d/b/a NORRIS HEALTH AND REHABILITATION CENTER

c/o CT CORPORATION SYSTEM, Agent for Service of Process

800 SOUTH GAY STREET, SUITE 2021

KNOXVILLE, TN 37929-9710

(SERVE THROUGH KNOX COUNTY SHERIFF)

You are hereby summoned and required to serve upon K. Christopher Martin, Esq., Martin Law Firm,

P.O. Box 584, Clinton, 'I`N 37717 and to David E. High, Esq., High Law Offrce, PLLC, 300 James Robertson
Parkway, 2nd Floor, Nashville, TN 37201, an Answer to the Complaint herewith served upon you within thirty
(30) days after service of this Summons and Complaint to you, exclusive of the day of service. If you fail to do
so, judgment by default can be take$i`nst you for the relief demanded in the Petition.

lssued and tested this _ L__,Q day ;… _ , 2013.

H. Tyler Mayes, Clerk

Clerk @gl>ucy clerkU

TO THE DEFENDANT(S): Tennessee law provides a four thousand dollar ($4,000.00) personal property exemption from execution or seizure to satisfy ajudgment. If
a judgment should he entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish to claim
as exempt with the Clerk of the Court. The list may be filed at any time and may be changed by you thereatter as necessary; however, unless it is filed before the
.ludgmem becomes tinaE, it will not be effective as to any execution or garnishment issued prior to the filing ofthe tist. Cenai:r items are automatically exempt by law
and do not need to be listed; these include items of necessary wearing apparel for yourself, trunks or other receptacles necessary to contain such apparel, family
portraits, the family Bible, and school books. Should any of these items be seized, you would have the right to recover them. If` you do nut understand your exemption
right or how to exercise it1 you may wish to seek the counsel cfa lawyer.

 

 

SERVICE INFORMATION
SERVE:

Ireceived this Summons on the / j day of f\/\‘ \ 12"[1)}*31 ‘ - ”
I hereby certify and return Summons on the °' 51 eo '<' n `BB styti;l' {';'|::;m

Systam ’.\e Reg§ateree sweet for l

[- Served this Summons on Defend t A'n the followijnf; manner:

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eureka Frv C aders.-».W, g iam,ft<& /§M,ru¢/L.LQ
cmpan

[ ] Failed to serve this Summons within thirty (3 0) days after its issuance because:
/ c .,/!»~»,,,ar / aim 367

PRoCF:s;S/sER)fER
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